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municipal police officers and employees in the state of Louisiana. The Retirement System brings

this action as a shareholder of Moody’s, derivatively on its behalf, against the directors and officers

of the Company responsible for the wrongful conduct described herein during the period from April

1, 2006 to the present (the “Relevant Period”).

                                            OVERVIEW

                                        “Ratings For Sale”

       2.        Moody’s is one of the leading credit rating agencies in the world. Independence and

objectivity are absolute requirements for the credit rating process – without them, a rating is

worthless, adding no value to a rated entity’s own (presumably biased) claims about its

creditworthiness. As such, Moody’s depends for its very existence on its reputation for these

qualities. The Company’s famous Aaa (or “triple-A”) rating on a debt security has been the gold

standard of safety and creditworthiness for generations.

       3.        This action concerns the wholesale corruption by Defendants of the credit ratings

process at Moody’s. During the Relevant Period, Defendants steered the Company in a “race to the

bottom” in the market for assigning credit ratings, particularly asset-backed securities known as

“structured finance” securities. At the behest of securities issuers, Defendants consistently rated the

securities far more favorably than they deserved, including thousands which received the coveted

triple-A rating. Defendants, whose own compensation grew swollen in line with the Company’s

revenues, in effect erected a huge sign over Moody’s which read: “Ratings For Sale.”

       4.        As a result of Defendants’ misconduct, trillions of dollars of highly-risky securities

were sold to investors that should never have seen the light of day. Beginning in late 2007, Moody’s

was forced to “come clean” and downgrade most of these securities. The rest went into default. All




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of these events have had a hugely magnified effect on the rest of the U.S. financial system. Thus,

besides burning Moody’s reputation to the ground, Defendants have helped ignite the greatest

financial wildfire this nation has seen since the Great Depression.

       5.       Today, the Company’s reputation and future business prospects are in tatters. The

Company’s share price has been cut to a sliver of its former value. Company executives have been

required to testify before Congress and provide evidence to various regulatory agencies and state

attorneys general. In hearings as recent as October 22, 2008, one U.S. Congressperson summarized

Defendants’ actions at Moody’s as nothing less than “a bone-chilling definition of corruption.”

Securities lawsuits against, and regulatory investigations of, Moody’s have been commenced across

the country. Given Defendants’ destruction of the Company’s primary asset – its reputational capital

– there is, finally, the question whether the Company can continue as a going concern.

       6.      The Retirement System asserts six claims for relief: breach of fiduciary duty, abuse

of control, gross mismanagement, waste of corporate assets, unjust enrichment, and violations of the

Securities Exchange Act of 1934.

       7.      Defendants’ liability for these violations is unmistakable. According to documents

made public by Congress, the Company’s Chairman and Chief Executive Officer (“CEO”),

defendant McDaniel, admitted to the Board in 2007 that the Company had no internal controls to

prevent giving overly favorable ratings to important issuers but, rather, was simply “handing the

dilemma off to the team [of managing directors] to solve.” McDaniel further admitted that he had

offered managers “precious few suggestions” on how to avoid undue influence by issuers and had

“just assumed that they would strike an appropriate balance.” McDaniel further confided that, when

faced with pressures to give inflated ratings, Moody’s simply “drank the Kool-Aid,” i.e., gave in.




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       8.      Documents and testimony before Congress, as well as published reports, establish

further that Defendants systematically terminated employees who raised questions concerning the

reliability of Moody’s credit ratings, while promoting managers who were the most craven in

bowing to pressures from issuers to award high credit ratings. Defendants ignored, or took no

meaningful action, in response to either external (i.e., investor-purchasers of Company-rated

securities) or internal (i.e., economists and honest analysts employed by the Company) criticisms of

the rating process. When it was discovered, in early 2007, that $4 billion worth of structured

securities had mistakenly been rated four notches higher than they deserved, Defendants did nothing

for almost a year, and then, when Defendants did take action, they concealed their misconduct by

simply “gaming” the ratings model, i.e., changing a few inputs so as to produce the exact same (but

fundamentally erroneous) rating. Internal memos to Defendants saying things like “Combined, these

errors make us look either incompetent at credit analysis or like we sold our soul to the devil for

revenue” were ignored, while Defendants awarded themselves millions of dollars in bonuses and

incentives. All the while, Defendants falsely assured shareholders and the public, through their

public statements, that the integrity of the Company’s rating process was sound and not tainted by

improper influences.

       9.      For these and other acts of gross misconduct, the Retirement System seeks monetary

and equitable relief on behalf of the Company.

                                JURISDICTION AND VENUE

       10.     This Court has original jurisdiction over this action pursuant to 28 U.S.C. § 1331,

because of claims presenting federal questions arising under the Securities Exchange Act of 1934,

and pursuant to 28 U.S.C. § 1367(a) because all others claims are so related to claims presenting




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federal questions that they form part of the same case or controversy. This Court also has

jurisdiction over all claims asserted herein pursuant to 28 U.S.C. § 1332 in that, upon information

and belief, complete diversity exists between the Retirement System and each of the Defendants and

the amount in controversy exceeds $75,000.

       11.     The Court has personal jurisdiction over each of the Defendants because each either is

a corporation that conducts business in and maintains operations in this District or is an individual

with sufficient minimum contacts with this District as to render the exercise of jurisdiction by this

Court permissible under traditional notions of fair play and substantial justice.

       12.     Venue is proper in this District pursuant to 28 U.S.C. § 1391 because: (a) Moody’s

maintains its principal place of business here; (b) one or more of the Defendants either resides in or

maintains executive offices here; (c) a substantial portion of the transactions and wrongs complained

of herein occurred here; and (d) Defendants have received substantial compensation and other

transfers of money here by doing business here and engaging in activities having an effect here.

                                          THE PARTIES

       Plaintiff

       13.     Plaintiff Retirement System is, and was during the Relevant Period, an owner and

holder of the common stock of Moody’s. The Retirement System is an instrumentality of the State

of Louisiana and a resident thereof.

       Nominal Defendant

       14.     Nominal defendant Moody’s is a provider of credit ratings, research and analysis

covering fixed-income securities, other debt instruments, and the entities that issue such instruments

in the global capital markets. The Company is a corporation organized and existing under the laws




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of the State of Delaware, with its principal place of business at 7 World Trade Center, 250

Greenwich Street, New York City, New York.

       Individual Defendants

       15.     Defendant Raymond W. McDaniel Jr. (“McDaniel”) has been the Chairman of the

Board of Directors (the “Board”), as well as CEO, of Moody’s since April 2005. He has held

various positions at the Company since 1987, and has been a director since 2003. In exchange for

his purported trust, loyalty, and fidelity to Moody’s, McDaniel received $7,376,555 in salaries,

bonuses, fees, stock options, stock awards and other compensation in 2007, of which $1,873,732 was

in the form of restricted stock. McDaniel also sits on the board of at least one other company, John

Wiley & Sons, Inc. Since April 1, 2006, based upon his knowledge of material, non-public

information about the Company, McDaniel has sold 136,444 shares of Moody’s stock for

$8,795,300. Upon information and belief, McDaniel is a resident of New York.

       16.     Defendant John K. Wulff (“Wulff”) has been a member of the Board of Directors

since April 2004. He is Chair of the Audit Committee and a member of the Governance and

Compensation Committee. In exchange for his purported trust, loyalty, and fidelity to Moody’s,

Wulff was paid $204,307 in salaries, bonuses, fees, stock options, stock awards and other

compensation in 2007, of which over $100,000 was in the form of restricted stock that vests based

on the passage of time, not the achievement of any performance goals. Wulff also sits on the boards

of at least four other companies, Hercules Incorporated, Celanese Corporation, Fannie Mae, and

Sunoco, Inc. Upon information and belief, Wulff is a resident of Vermont.

       17.     Defendant Basil L. Anderson (“Anderson”) has been a member of the Board of

Directors since April 2004. He is a member of the Audit Committee and a member of the




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Governance and Compensation Committee. In exchange for his purported trust, loyalty, and fidelity

to Moody’s, Anderson was paid $184,307 in salaries, bonuses, fees, stock options, stock awards and

other compensation in 2007, of which over $100,000 was in the form of restricted stock that vests

based on the passage of time, not the achievement of any performance goals. Anderson also sits on

the boards of at least four other companies, Staples, Inc., Becton Dickinson, CRA International Inc.,

and Hasbro, Inc. Upon information and belief, Anderson is a resident of New Jersey.

       18.     Defendant Robert R. Glauber (“Glauber”) has been a member of the Board of

Directors since June 1998.      He is a member of the Audit Committee and a member of the

Governance and Compensation Committee. In exchange for his purported trust, loyalty, and fidelity

to Moody’s, Glauber was paid $179,305 in salaries, bonuses, fees, stock options, stock awards and

other compensation in 2007, of which over $100,000 was in the form of restricted stock that vests

based on the passage of time, not the achievement of any performance goals. Glauber sits on the

boards of at least three other companies, Freddie Mac, Qandra REIT, and XL Capital Ltd. Since

April 1, 2006, based upon his knowledge of material, non-public information about the Company,

Glauber has sold 34,000 shares of Moody’s stock for $2,256,000. Upon information and belief,

Glauber is a resident of New York.

       19.     Defendant Ewald Kist (“Kist”) has been a member of the Board of Directors since

July 2004. He is a member of the Audit Committee and a member of the Governance and

Compensation Committee. In exchange for his purported trust, loyalty, and fidelity to Moody’s, Kist

was paid $198,055 in salaries, bonuses, fees, stock options, stock awards and other compensation in

2007, of which over $100,000 was in the form of restricted stock that vests based on the passage of

time, not the achievement of any performance goals. Kist sits on the boards of at least four other




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companies, The DSM Corporation, Royal Philips Electronics, the Dutch National Bank, and Stage

Entertainment. Upon information and belief, Kist is a resident of Maryland.

       20.     Defendant Cornelius A. McGillicuddy III (“McGillicuddy”) has been a member of

the Board of Directors since December 2001. He is a member of the Audit Committee and a

member of the Governance and Compensation Committee. In exchange for his purported trust,

loyalty, and fidelity to Moody’s, McGillicuddy was paid $179,305 in salaries, bonuses, fees, stock

options, stock awards and other compensation in 2007, of which over $100,000 was in the form of

restricted stock that vests based on the passage of time, not the achievement of any performance

goals. McGillicuddy sits on the boards of at least six other companies, Darden Restaurants, EXACT

Sciences Corporation, Genzyme Corporation, Spirit Aerosystems, Mutual of America Life Insurance

Company, and the H. Lee Moffitt Cancer Center, which he chairs. Since April 1, 2006, based upon

his knowledge of material, non-public information about the Company, McGillicuddy has sold 6,450

shares of Moody’s stock for $419,000. Upon information and belief, McGillicuddy is a resident of

Florida.

       21.     Defendant Henry A. McKinnell Jr. (“McKinnell”) has been a member of the Board of

Directors since October 1997. He is Chair of the Governance and Compensation Committee and a

member of the Audit Committee. In exchange for his purported trust, loyalty, and fidelity to

Moody’s, McKinnell was paid $199,305 in salaries, bonuses, fees, stock options, stock awards and

other compensation in 2007, of which over $100,000 was in the form of restricted stock that vests

based on the passage of time, not the achievement of any performance goals. McKinnell also is

Chairman of the Board of the Academic Alliance Foundation, Chairman of the Connecticut Science




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Center, and sits on the Board of Angiotech Pharmaceuticals, Inc. Upon information and belief,

McKinnell is a resident of Connecticut.

       22.     Defendant Nancy S. Newcomb (“Newcomb”) has been a member of the Board of

Directors of the Company since February 2005. She is a member of the Audit Committee and a

member of the Governance and Compensation Committee. In exchange for her purported trust,

loyalty, and fidelity to Moody’s, Newcomb was paid $174,025 in salaries, bonuses, fees, stock

options, stock awards and other compensation in 2007, of which nearly $100,000 was in the form of

restricted stock that vests based on the passage of time, not the achievement of any performance

goals. Newcomb sits on the boards of at least two other companies, DIRECTV Group, Inc. and

SYSCO Corporation. Upon information and belief, Newcomb is a resident of Connecticut.

       23.     Defendant Brian M. Clarkson (“Clarkson”) is the former President and Chief

Operating Officer of Moody’s Investors Service. He retired on May 7, 2008. During the Relevant

Period while employed by Moody’s, Clarkson headed the Company’s structured finance ratings

groups and possessed overall responsibility for leading the Company’s ratings and research business.

In exchange for his purported trust, loyalty, and fidelity to Moody’s, Clarkson was paid $3,243,393

in salaries, bonuses, fees, stock options, stock awards and other compensation in 2007. Since April

1, 2006, based upon his knowledge of material, non-public information about the Company,

Clarkson has sold 3,643 shares of Moody’s stock for $135,520. Upon information and belief,

Clarkson is a resident of New Jersey.

       24.     Defendant Mark E. Almeida (“Almeida”) is the President of Moody’s Analytics. In

exchange for his purported trust, loyalty, and fidelity to Moody’s, Almeida was paid $1,724,179 in

salaries, bonuses, fees, stock options, stock awards and other compensation in 2007. Since April 1,




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2006, based upon his knowledge of material, non-public information about the Company, Almeida

has sold 2,026 shares of Moody’s stock for $75,367. Upon information and belief, Almeida is a

resident of New Jersey.

       25.     Defendant Noel Kirnon (“Kirnon”) was, until his termination on July 31, 2007, the

Executive Vice President of Moody’s and head of its global Structured Finance business. Upon

information and belief, Kirnon is a resident of New York.

       26.     Defendant Andrew E. Kimball (“Kimball”) is the Chief Credit Officer and Chair of

the Credit Policy Committee of Moody’s. Upon information and belief, Kimball is a resident of

New York.

       27.     Defendant Linda S. Huber (“Huber”) is the Executive Vice President and Chief

Financial Officer of Moody’s. She has executive responsibility for the Company’s global finance

activities, including accounting and financial reporting, tax, treasury, business planning, investor

relations and internal audit. In exchange for her purported trust, loyalty, and fidelity to Moody’s,

Huber was paid $2,749,988 in salaries, bonuses, fees, stock options, stock awards and other

compensation in 2007. Since April 1, 2006, based upon her knowledge of material, non-public

information about the Company, Huber has sold 7,208 shares of Moody’s stock for $365,043. Upon

information and belief, Huber is a resident of New York.

       28.     Defendant Michael Kanef (“Kanef”) is the Chief Regulatory and Compliance Officer

of Moody’s. Previously, he was the Group Managing Director of the Moody’s U.S. Asset Finance

Group, responsible for ratings of residential mortgage-backed securities. Upon information and

belief, Kanef is a resident of New Jersey.




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        29.   Defendant Stephen Tulenko (“Stephen Tulenko”) is the Executive Director, Global

Sales and Customer Service, at Moody’s Analytics. Upon information and belief, Tulenko is a

resident of New Jersey.

        30.   Defendant Jeanne M. Dering (“Dering”) is the Executive Vice President – Global

Regulatory Affairs and Compliance of Moody’s. In exchange for her purported trust, loyalty, and

fidelity to Moody’s, Dering was paid $2,961,370 in salaries, bonuses, fees, stock options, stock

awards and other compensation in 2007. Since April 1, 2006, based upon her knowledge of

material, non-public information about the Company, Dering has sold 3,373 shares of Moody’s stock

for $225,000. Upon information and belief, Dering is a resident of New York.

        31.   Defendant Michel Madelain (“Madelain”) is the Chief Operating Officer, Moody’s

Investors Service, of Moody’s. Upon information and belief, Madelain is a resident of New York.

        32.   Defendant Joseph J. McCabe (“McCabe”) is the Senior Vice President and Corporate

Controller of Moody’s. He is responsible for Moody’s worldwide accounting and financial reporting

activities, including accounting, tax, policies and procedures, internal financial controls, SEC

reporting, and compliance with the financial reporting control requirements of the Sarbanes-Oxley

Act. Since April 1, 2006, based upon his knowledge of material, non-public information about the

Company, McCabe has sold 1,989 shares of Moody’s stock for $101,878. Upon information and

belief, McCabe is a resident of New Jersey.

        33.   Defendant Carlton Charles (“Charles”) is the Vice President, Treasurer and Chief

Operational Risk Officer of Moody’s. Upon information and belief, Charles is a resident of New

York.




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       34.     Defendant Blair Worrall (“Worrall”) is the Vice President, Internal Audit, of

Moody’s. Upon information and belief, Worrall is a resident of New Jersey.

       35.     The Defendants who served on Moody’s Board during the events complained of

named in paragraphs 15-22 hereof are referred to as the “Director Defendants.” The Defendants

who served as officers of the Company during the events complained of named in paragraphs 15 and

23-34 are referred to as the “Officer Defendants.” (Defendant McDaniel is a member of both

groups.)

                                 DERIVATIVE ALLEGATIONS

       36.     Plaintiff brings this action derivatively in the right and for the benefit of Moody’s to

redress injuries suffered, and to be suffered, by Moody’s as a direct result of the breaches of federal

and state law, fiduciary duty, abuse of control, and gross mismanagement, as well as the aiding and

abetting thereof, by the Defendants. Moody’s is named as a nominal defendant solely in a derivative

capacity. This is not a collusive action to confer jurisdiction on this Court that it would not

otherwise have.

       37.     Plaintiff will adequately and fairly represent the interests of Moody’s in enforcing and

prosecuting its rights.

       38.     Plaintiff is and was an owner of the stock of Moody’s during times relevant to the

Defendants’ wrongful course of conduct alleged herein, and remains a shareholder of the Company.

       39.     Prosecution of this action, independent of the current Board of Directors, is in the best

interests of the Company.




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                                 DEMAND FUTILE AND EXCUSED

        40.          Demand upon the Board of Directors of Moody’s that they institute this action in

the Company’s name would be entirely futile, and is therefore excused.

        41.          The Board of Moody’s consists of eight (8) individuals: Defendants McDaniel,

Wulff, Anderson, Glauber, Kist, McGillicuddy, McKinnell, and Newcomb. A majority of these

individuals are not disinterested and independent with respect to the acts and omissions alleged

herein. Moreover, each faces a substantial likelihood of personal liability for their breaches of the

duties of trust, loyalty, good faith, candor, oversight, reasonable inquiry, supervision, and due care

described herein.

        42.          The Director Defendants have already demonstrated their unwillingness to correct

the results of Defendants’ violation of their duties and harm to the Company’s reputation and

business prospects. The Director Defendants cannot be trusted to institute or vigorously prosecute

this action.

        43.          Through their inaction, acquiescence, and/or affirmative endorsement of the

wrongdoing complained of herein, the Director Defendants evinced an attitude throughout the

Relevant Period to the effect that, “We don’t care about risk” – i.e., the risk to the Company’s

reputation for accurate credit ratings and to the Company’s long-term survival and business

prospects. Among other things, the Director Defendants have failed to take corrective action,

institute necessary reforms, or commence legal actions against culpable parties, even when presented

with clear evidence throughout the Relevant Period that:

               (a)      According to a confidential report by McDaniel to the Board, the Company

        had no internal controls and procedures to prevent giving overly favorable ratings to




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important issuer clients but, rather, was simply “handing the dilemma off to the team

[managing directors] to solve”;

       (b)     According to the same report, McDaniel had offered his managers “precious

few suggestions on how to address this very tough problem [avoiding undue influence by

issuers], just assumed that they would strike an appropriate balance”;

       (c)     McDaniel, in the same report, wrote that he thought the Company’s practices

in assigning overly favorable credit ratings put not only Moody’s, but also “the entire

financial system,” at risk;

       (d)     According to McDaniel’s report, Moody’s, when faced with pressure by

bankers, issuers, and investors seeking to influence the credit ratings given by the Company,

simply “drank the Kool-Aid,” i.e., gave in;

       (e)     On September 10, 2007, Clarkson told approximately 100 managing directors

of the Company assembled for a “Town Hall”-style meeting that:

       At the end of the day, I think that we did an okay job in identifying the risk,
       but we didn’t do a very good job of measuring the magnitude. I’ve been
       saying that in private meetings. Obviously I’m not going to say that to the
       press, but what happened was what we did, we talked about early on how we
       actually sort of changed our [unintelligible] level with respect to subprime
       mortgages, 30% over three years. We saw the risk coming. We identified
       the risk. We just missed the magnitude.

A transcript of the Town Hall meeting was shared with at least one member of the Board of

Directors;

       (f)     Similarly, responses from several of the managing directors participating in

the Town Hall meeting raised serious questions that the Board never addressed. One

anonymous commenter wrote (in remarks that were shared with at least one Board member):




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“Really no discussion of why the structured group refused to change their ratings in the face

of overwhelming evidence that they were wrong.” (Emphasis added);

       (g)     Institutional investors such as PIMCO, Blackrock, Vanguard, and Fortis

Investments repeatedly, and in the strongest possible terms, questioned the accuracy and

integrity of the Company’s credit ratings, to which McDaniel reacted by asking a

subordinate, Almeida, what to do;

       (h)     Managers in charge of rating $4 billion worth of certain structured securities

known as constant proportion debt obligations (“CPDOs”), upon learning that the CPDOs

had been erroneously rated Aaa, took no action for almost a year and, when they did take

action, it was to “tweak” the ratings model so as to again (artificially) justify an Aaa rating;

       (i)     There were widespread violations of the Company’s Code of Professional

Conduct;

       (j)     Officers, such as Clarkson, who advocated aggressively keeping issuer clients

satisfied, even if it meant degrading credit standards, were systematically promoted and

praised, while managers who emphasized real creditworthiness (including dozens who had

served under Clarkson) were ostracized, demoted or terminated; and

       (k)     No later than 2006, the Company’s own economists were predicting a

financial “event” that could severely disrupt credit markets. Thus, in a report published in

May 2006, Mark Zandli, an officer of the Company’s forecasting division, noted that

consumer borrowing had soared, household debt was at a record and a fifth of such debt was

classified as subprime. At the same time, according to Zandli’s report, loan officers were

loosening underwriting standards and easing rates to offer still more loans. Zandli expressed




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        doubts over the “razor-thin” level of homeowners’ equity, an avalanche of “teaser”

        mortgages and $750 billion of mortgages he judged to be at risk. Zandli concluded: “The

        environment feels increasingly ripe for some type of financial event.” (Emphasis added.)

        44.         The Director Defendants are further incapable of acting independently and

disinterestedly in pursuing this action against Defendants, for the following reasons, among others:

        45.         Defendant McDaniel is a high-level, highly-compensated executive officer of

Moody’s, and the Company has conceded that he is not independent under either the listing

standards of the New York Stock Exchange or the Company’s own Director Independence

Standards. In addition, McDaniel was required to testify before Congress regarding his role in

lowering Moody’s rating standards and other misconduct set forth herein. Accordingly, McDaniel

lacks independence, rendering him incapable of impartially considering a demand to commence and

vigorously prosecute this action.

        46.         Defendant Wulff is acknowledged by Moody’s itself to serve as a director of an

entity or entities that are rated by, or have issued securities that are rated by Moody’s, including

Fannie Mae, one of the preëminent issuers of structured finance securities. Indeed, Moody’s rates

hundreds of billions of dollars’ worth of securities issued by companies on whose boards of

directors Wulff sits, including Celanese Corporation, Fannie Mae, and Sunoco, Inc. Wulff thus is

conflicted by the goal of ensuring that such entities, and the securities they issue, receive the highest

ratings possible from Moody’s, irrespective of his duties to Moody’s. Moreover, Wulff is a member

of several boards of directors of companies that have now been re-rated “D” or below by The

Corporate Library (a service which monitors corporate boards on behalf of shareholders), including

Fannie Mae.




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        47.         Defendant Anderson is acknowledged by Moody’s itself to serve as a director of

an entities or entities that are rated by, or have issued securities that are rated by Moody’s. Indeed,

Moody’s rates billions of dollars’ worth of securities issued by companies on whose boards of

directors Anderson sits, including Staples and Hasbro. Anderson thus is conflicted by the goal of

ensuring that such entities, and the securities they issue, receive the highest ratings possible from

Moody’s, irrespective of his duties to Moody’s.

        48.         Defendant Glauber is acknowledged by Moody’s itself to serve as a director of an

entities or entities that are rated by, or have issued securities that are rated by Moody’s, including

Freddie Mac, one of the preëminent issuers of structured finance securities, and XL Capital Ltd., one

of the preëminent guarantors of such securities. Indeed, Moody’s rates hundreds of billions of

dollars’ worth of securities issued or guaranteed by companies on whose boards of directors

Glauber sits, including Freddie Mac and XL Capital. Glauber is thus conflicted by the goal of

ensuring that such entities, and the securities they issue or guarantee, receive the highest ratings

possible from Moody’s, irrespective of his duties to Moody’s.

        49.         Defendant Kist is acknowledged by Moody’s itself to serve as a director of an

entities or entities that are rated by, or have issued securities that are rated by Moody’s. Indeed,

Moody’s rates billions of dollars’ worth of securities issued by companies on whose boards of

directors Kist sits, including Royal Philips and Stage Entertainment. Kist thus is conflicted by the

goal of ensuring that such entities, and the securities they issue, receive the highest ratings possible

from Moody’s, irrespective of his duties to Moody’s.

        50.         Defendant McGillicuddy is acknowledged by Moody’s itself to serve as a director

of an entities or entities that are rated by, or have issued securities that are rated by Moody’s.




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Indeed, Moody’s rates billions of dollars’ worth of securities issued by companies on whose boards

of directors McGillicuddy sits, including Spirit Aerosystems, Darden Restaurants, EXACT Sciences,

and Mutual of America Life. McGillicuddy thus is conflicted by the goal of ensuring that such

entities, and the securities they issue, receive the highest ratings possible from Moody’s, irrespective

of his duties to Moody’s.

        51.         Defendant Newcomb is acknowledged by Moody’s itself to serve as a director of

an entities or entities that are rated by, or have issued securities that are rated by Moody’s. Indeed,

Moody’s rates tens of billions of dollars’ worth of securities issued by companies on whose boards

of directors Newcomb sits, including DIRECTV and SYSCO. Newcomb thus is conflicted by the

goal of ensuring that such entities, and the securities they issue, receive the highest ratings possible

from Moody’s, irrespective of her duties to Moody’s.

        52.         Defendant McKinnell was forced to resign as the CEO of Pfizer Inc. in July 2006,

and as its Chairman in December 2006, amidst dissatisfaction from the Pfizer Board and declining

investor confidence in his leadership abilities. In fact, McKinnell received record compensation

from Pfizer despite a sharply declining value in the share price, a diminished drug pipeline, and

steering that company into a series of expensive, stock-for-stock acquisitions.

        53.         Seven out of eight members of the Board of Directors of the Company, viz.,

Wulff, Anderson, Glauber, Kist, McGillicuddy, McKinnell, and Newcomb, serve on the Board’s

Audit Committee. Thus, there is no meaningful distinction between the full Board and the crucial

committee of the Board charged with auditing and overseeing the Company’s accounting and credit

rating processes. The Audit Committee is not independent from the full Board itself and exists




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simply to ratify the decisions and preferences of the full Board and its Chairman, defendant

McDaniel.

       54.         The same seven Board members (Wulff, Anderson, Glauber, Kist, McGillicuddy,

McKinnell, and Newcomb) also serve on the Governance and Compensation Committee of the

Board. Thus, again, there is no meaningful distinction between the full Board and a key committee

of the Board, this one charged with considering and making recommendations concerning the size,

structure, composition, and functioning of the Board itself and its committees.            Thus, the

Governance and Compensation Committee, too, is not independent from the full Board itself and

exists simply to ratify the decisions and preferences of the full Board and its Chairman, defendant

McDaniel.

       55.         Defendant Anderson is allowed to serve on the Audit Committee despite the fact

that he also serves on the audit committees of three other public corporations, in direct violation of

the director independence rules of the New York Stock Exchange.

       56.         As members of the Audit Committee, defendants Wulff, Anderson, Glauber, Kist,

McGillicuddy, McKinnell, and Newcomb will take no action against one another or the other

member of the Board of Directors of the Company because each member of this Committee

breached important specific duties outlined in the Audit Committee Charter and specified herein

infra, by failing to prevent the breakdown in Moody’s internal controls, analytical models,

safeguards against conflicts of interest, and compliance with legal and regulatory requirements

detailed herein. Moreover, these members of the Audit Committee defaulted on their responsibility

of oversight over the Company’s compliance with legal and regulatory requirements as well as its

own internal policies and procedures, including the Company’s Code of Professional Conduct.




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Accordingly, and as evidenced by Defendants’ admission that Moody’s personnel engaged in

conduct contrary to the Company’s Code of Professional Conduct, defendants Wulff, Anderson,

Glauber, Kist, McGillicuddy, McKinnell, and Newcomb breached their fiduciary duties of trust,

loyalty, good faith, candor, oversight, reasonable inquiry, supervision, and due care. These

defendants face a substantial likelihood of liability for their breaches of fiduciary duties, and any

demand on them therefore is futile.

       57.         As members of the Governance and Compensation Committee, the same faction

of defendants Wulff, Anderson, Glauber, Kist, McGillicuddy, McKinnell, and Newcomb will take

no action against one another or the other member of the Board of Directors because each member of

this Committee breached important specific duties outlined in the Governance and Compensation

Committee Charter and specified herein infra, by failing to exercise responsibility for overseeing,

and make recommendations to the Board regarding, compensation of the Company’s senior

executive officers and directors; indeed, the very committee charged with governance allows both

itself and the Audit Committee to be composed of the same exact bloc of non-employee directors.

       58.         The seven non-employee directors, Wulff, Anderson, Glauber, Kist,

McGillicuddy, McKinnell, and Newcomb, sit on the boards of a total of twenty-six (26) other

companies – with some individually sitting on six other boards, in direct violation of the director

independence rules of the New York Stock Exchange.

       59.         In addition, while Moody’s and its public shareholders have suffered substantial

damage and losses due to the deceit and deception committed by its insiders and the director

oversight failings committed by its Board, the insiders and directors of this Company have not only

suffered no damages but, in fact, have greatly profited from their participation in the illegal conduct.




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These individuals have usurped millions of dollars of regular and bonus compensation, as well as

severance payments, stock grants and stock awards as a result of their incompetent performance and

deceptive activities.

        60.     The Moody’s Board is still dominated and controlled by wrongdoers who continue to

obscure their own misconduct, and will not take action to protect the interests of Moody’s or its

shareholders. The present Board of Directors of Moody’s has refused, and will continue to refuse, to

institute this action, among other reasons, because the acts complained of herein constitute violations

of fiduciary duties owed by the Board of Directors and/or legal violations, and these acts are

incapable of ratification.

        61.     In addition, certain of the known principal wrongdoers and beneficiaries of the

wrongdoing complained of herein, including defendants McDaniel, Wulff, and McKinnell are in a

position to, and do, dominate and control the Board of Directors, by virtue of their control of the full

Board (McDaniel) or their control of the two primary committees of the Board (Audit, and

Governance and Compensation) (Wulff and McKinnell). Thus, the Board could not exercise

independent objective judgment in deciding whether to bring or vigorously prosecute this action.

        62.     In order to bring this action for breach of fiduciary duty, abuse of control and fraud,

the members of the Board of Directors would have been required to sue themselves and/or their

fellow directors and allies in the top ranks of the Company, who are their good friends and with

whom they have entangling financial alliances, interests, and dependencies, which they would not

do. They therefore would not be able to vigorously prosecute any such action.

        63.     The Director Defendants also will take no action against one another or against any

member of the Board because each of these Defendants received hundreds of thousands of dollars




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per year (and McDaniel received over $7 million) in salaries, bonuses, payments, benefits, and other

compensation and emoluments in exchange for their purported trust, loyalty and fidelity and as

compensation for serving as a member of the Board and as member of the committees thereof. They

have thus benefited from the wrongs alleged herein and have engaged in these wrongs precisely to

preserve their positions of control and the perquisites thereof, and are incapable of exercising

independent objective judgment in deciding whether to bring this action. The Board members also

have close personal or business ties with one another and are, consequently, interested parties and

cannot in good faith exercise independent business judgment to determine whether to bring this

action against themselves.

        64.     The Moody’s directors’ and officers’ liability insurance policies for the relevant

period have an “insured vs. insured” exclusion. Thus, if the directors caused the Company to sue its

officers and directors for the liability asserted in this case they would not be insured for that liability.

They will not do this to themselves or the officers they hired. The directors’ and officers’ liability

insurance was purchased and paid for with corporate funds to protect the Company. This derivative

suit, brought by shareholders, does not trigger the “insured vs. insured” exclusion, and thus only this

derivative suit can obtain a recovery on the directors’ and officers’ liability insurance and benefit the

Company.

        65.     In addition to the foregoing, the present Board of Directors of Moody’s have refused,

and will continue to refuse to institute this action because they face debilitating conflicts of interest

as a result of their direct complicity in the actions complained of herein, the benefits that they

received therefrom, and also as a result of their membership on committees of the Board directly

responsible for oversight of the Company.




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                                    FACTUAL BACKGROUND

        66.      Moody’s, as a credit rating agency and a Nationally-Recognized Statistical Ruling

Organization (“NRSRO”), opines on the creditworthiness of debt instruments and is paid billions of

dollars for doing so. Together with Standard & Poors and Fitch, Moody’s dominates the market for

credit ratings, with 40% of the market going to Moody’s alone. The vast majority of Moody’s

revenues derive from its credit rating division, Moody’s Investors Service.

        67.      As financial markets have grown more complex, the role of credit rating agencies

has mushroomed in importance. Between 2002 and 2007, large institutional lenders such as Freddie

Mac and Fannie Mae issued a flood of structured securities backed by pools of various underlying

obligations from residential mortgages. Many of the obligations backing up these securities

consisted of highly risky obligations such as subprime home loans. By necessity, investors turned to

rating agencies such as Moody’s to evaluate and grade the risk associated with each security.

        68.      As the need for credit ratings grew, so did the Company’s profits, which quadrupled

between 2000 and 2007. For five years in a row, Moody’s had the highest profit margin of any

company in the S&P 500 Index.

        69.      Moody’s expresses its credit rating evaluations through its famous “Global Scale.”

The Global Scale is a categorical scale that runs from Aaa (“triple-A”) at the top (obligations

“judged to be of the highest quality, with minimal credit risk”) down through progressively riskier

categories: Aa (“double-A”) (high quality with very low credit risk); A (“single-A”) (upper medium

grade obligations with low credit risk); Baa (moderate credit risk); Ba; B; Caa; Ca; and C. The Ca

rating is given to obligations that are “highly speculative and are likely in, or very near, default, with

some prospect of recovery of principal and interest”). The C rating is the “lowest rated class of




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bonds and are typically in default, with little prospect for recovery of principal or interest.” By

tradition and regulation, securities bearing ratings of Baa and above are referred to as “investment

grade.” Throughout the Relevant Period, Defendants falsely claimed that the Global Scale was

uniform across all different types of debt securities – including structured finance securities – such

that a traditional corporate bond rated Baa had the same risk as a structured security rated Baa.

        70.       For investors, a triple-A rating from Moody’s has long been the stamp of approval

that said that a debt obligation was safe. And for investors in structured securities, that same triple-A

rating became the independent validation that turned a pool of risky home loans into an investment

grade security.

        71.       Since 2004, structured finance has provided the Company with more rating revenue

and income than all other product ratings combined (corporate and financial institution debt,

sovereign debt, and municipal bonds).

        72.       The structured finance market that Moody’s depended on for its revenues during the

Relevant Period includes a number of different asset-backed securities (“ABS”), including

residential mortgage-backed securities (“RMBS:) and commercial mortgage-backed securities

(“CMBS”). As their names imply, structured finance securities are backed by assets, and all sorts of

assets can form and have formed the basis for these securities, including mortgages, student loans,

credit card balances, auto loans, equipment leases, aircraft leases, and even tobacco litigation

payments. Furthermore, collections of asset-backed securities such as RMBS can themselves serve

as the basis for “second order” structured finance securities that gather together an asset pool of

various ABS securities and issue a further round of securities. Most prominent of such second-order




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structured finance securities are collateralized debt obligations (CDOs), hundreds of billions of

dollars of which are issued each year.

                            “RATINGS SHOPPING”:
                    DEFENDANTS DESTROY THE OBJECTIVITY
             AND INDEPENDENCE OF MOODY’S CREDIT RATING PROCESS

       73.     Independence and objectivity are the sine qua nons of the credit rating process.

Credit rating agencies act as the “gatekeeper” firms that provide a layer of verification or

certification above and beyond a primary entity’s own claims about its ability to pay out on its

obligations. Moody’s existence as just such a gatekeeper firm, therefore, was predicated on

maintaining its independence and objectivity. To a greatly enhanced degree, the Company’s

fortunes depended on its reputation.

       74.     Ultimately, however, the market for structured finance securities presented many

temptations to Defendants that caused them to sacrifice the independence and objectivity of the

ratings process for the sake of greater profits at the Company and, consequently, greater riches for

themselves. Several factors, set forth below, led Defendants to breach their fiduciary duties to the

Company and its shareholders.

       75.     First, Moody’s and other ratings agencies were evaluated, retained, and compensated

much differently with respect to structured finance securities than with respect to ordinary debt

obligations. In structured finance, Moody’s was paid minimal amounts for pre-evaluations of

ratings, only receiving the much larger, full payment if the issuer chose to officially use (or

“publish”) the ratings in connection with the issuance. As a consequence, issuers were able to select

rating agencies on the very basis of their pre-evaluations (“ratings shopping”). Rather than a credit

agency determining a credit rating, a credit rating determined the credit rating agencies.




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        76.     Second, the very configuration of the structured finance securities – and therefore

their profitability to the issuer – depended on input from credit rating agencies such as Moody’s.

The structure of such a security is, essentially, an expression of the expected loss determined by the

rating agency. If the agency determines an expected loss of $10 million from a $300 million pool of

subprime mortgages, the issuer of a mortgage-backed security will be able to issue more Aaa-rated

tranches than would be the case if the agency determined an expected loss of $15 million. The lower

the expected loss, the greater percentage of the total pool that can be issued as higher-rated tranches.

And the more of the issuance that is issued as a highly-rated tranche, the more profitable will be the

entire issuance to the issuer. Indeed, even modest changes in the expected loss can produce greatly

different overall profitability.

        77.      Third, the structured finance market is huge, but the number of issuers is small, being

confined to a few giant institutional lenders, such as Freddie Mac and Fannie Mae, and investment

banks. Thus, unlike the situation in which a corporate bond is rated, where the benefit to be gained

from awarding an artificially favorable rating to an obligation so as to curry favor with the issuer is

outweighed by the harm to Moody’s reputation for objectivity that would ensue, the consequences of

client displeasure in structured finance were greatly magnified, both qualitatively and quantitatively.

Losing one client, for example, could result in losing 10 percent or more of market share – a blow all

the larger given the size of the market.

        78.     It is axiomatic that issuer would prefer the rating that makes the securitization more

profitable for the issuer. The way this worked in practice is that an issuer such as Fannie Mae would

simply select the rating agency that produces the lowest estimate of expected loss, and that agency’s




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rating would become the official, “published” rating, with all others simply being discarded.

Moreover, that rating agency would receive all, or substantially all, of the fees for that issuance.

       79.     These features of the structured finance market required Defendants to implement

strong control and procedures that would prevent Moody’s from: (a) competing to deliver the

highest possible rating to an issuance regardless of real creditworthiness and thereby encouraging

issuers to “shop” for ratings; (b) using credit evaluation models that were “gamed” to deliver

unrealistically low estimates of expected loss; and (c) allowing profitable relationships with large

lenders and investment banks to influence the ratings given to those institutions’ securities.

       80.     Instead, Defendants permitted a complete breakdown of controls and procedures at

the Company throughout the Relevant Period. Yielding to the temptation to cast objectivity aside,

and in a “race to the bottom” to collect as many fees from as many issuers as possible, Defendants

implemented processes in which: (a) artificially high credit ratings were given to structured finance

and other securities, and artificially low estimates of expected loss were given to issuers of

structured finance securities; (b) models and other analytical tools for determining credit ratings

were changed so as to give less weight to reliable inputs and more weight to unreliable inputs and

other extraneous information; and (c) the identity, size, and deal volume of particular issuers with

Moody’s became key components of the ratings assigned to those issuers’ securities.

       81.     Mark Adelson is the former managing director of structured finance at Moody’s. Mr.

Adelson left Moody’s in January 2001, after he was reassigned out of the residential mortgage-

backed security rating area. (Mr. Adelson had insisted that ratings of RMBS not employ an inflated

value of underlying collateral.)




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       82.     Six years after being forced out of Moody’s, Mr. Adelson testified at a hearing of the

U.S. House of Representatives Committee on Financial Services, Subcommittee on Capital Markets,

Insurance and Government Sponsored Enterprises. At the hearing, entitled “The Role of Credit

Rating Agencies in the Structured Finance Market,” Mr. Adelson explained that:

       Another aspect of conflict of interest, though, that’s a little different, is that . . . rating
       agencies can come under a pressure to loosen their standards for a whole sector. And
       this can happen from behavior from the issuer called “ratings shopping,” where an
       issuer, let’s say, shows a deal [i.e., a proposed structured security issuance] to
       multiple rating agencies and then picks one or two that have the easiest standards
       to rate the deal. Then, the other rating agencies that had tougher standards become
       invisible. And what’s more, they don’t make any money, because the way you make
       money rating a deal is you rate the deal and charge the issuer. So it puts pressure on
       the rating agencies to loosen their standards.

                                                  * * *

       It is indisputable that securitization issuers in the MBS, CMBS, and CDO areas
       engage in rating shopping. They do so openly. [Sept. 27, 2007, emphasis added]

       83.     Portfolio magazine reported in its September 2007 issue as follows (emphasis added):

       Last year, officials from Moody’s Investors Service gave a PowerPoint presentation
       to a group of mortgage lenders in Moscow. There were the usual arcana about what
       the ratings mean and how the agency creates them. . . .

       But midway through the presentation, Moody’s revealed a significant, and ultimately
       more dangerous, role that the agencies play in financial markets. The slides detailed
       an “iterative process, giving feedback” to underwriters before bonds are even issued.
       They laid out how Moody’s and its peers help their clients put together complicated
       mortgage securities before they receive an official ratings stamp. But this give-
       and-take can go too far: Imagine if you wanted a B-minus on your term paper and
       your high-school teacher sat down with you and helped you write an essay to make
       that grade.

                                                 *     *      *

       It’s becoming clear the rating agencies were far from passive raters, particularly
       when it came to housing bonds. With these, the agencies were integral to the
       process, and that could give regulators and critics the ammunition they’ve been




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       looking for to finally force the Big Three to change. The credit-ratings agencies
       “made the market.” [Emphasis added.]

       84.     On April 11, 2008, the Wall Street Journal published an exposé of Defendants’

misconduct at Moody’s. The article detailed how, as Clarkson was put in charge of a series of

different structured finance ratings groups within the Company (e.g., residential mortgage-backed

securities, commercial mortgage-backed securities, and CDOs), those groups became more “client-

friendly” and consciously sacrificed their ratings standards for the sake of market share:

       A decade ago, as the housing market was just beginning to take off, Moody’s was a
       small player in analyzing complex securities based on home mortgages. Then,
       Moody’s joined Wall Street and many investors in partaking of the punch bowl.

       A firm once known for its bookish culture began to focus on the market share that
       affected its own revenue and profit. [Moody’s] became willing . . . to switch
       analysts if clients complained. . . . By the height of the mortgage securities frenzy in
       2006, Moody’s had pulled even with its largest competitor, rating nine out of every
       ten dollars raised in these instruments. It gave many bonds its coveted triple-A
       rating.

       Profits at the 99-year-old firm, which John Moody started to rate railroad bonds,
       rose 375% in six years. The share price quintupled.

       Now, Moody’s [is] under fire for putting top ratings on securities that ultimately
       collapsed in value. Investors, many of whom relied on ratings to signal which
       securities were safe to buy, have lost more than $100 billion in market value. The
       credibility of the ratings system is in tatters as new downgrades of mortgage
       securities come almost weekly. Investigators from Congress, the Securities and
       Exchange Commission and several state attorneys general are examining the rating
       firms’ practices. [Emphases added.]

       85.     The Wall Street Journal detailed defendant Clarkson’s role in the deterioration of the

ratings process:

       Of the three big rating agencies, Moody’s underwent the deepest cultural change
       amid the housing boom. At the heart of the firm’s gradual transformation into a
       player in the mortgage game was Brian Clarkson, 51 years old, who joined the
       company as an analyst in 1991 and became president last August. . . .




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                                             *     *      *

       [I]n the mid-1990s, Fitch and S&P were both rating more mortgage bonds than
       Moody’s, in large part because their standards were considered easier. For instance,
       in commercial mortgage-backed securities, Moody’s trailed its two main competitors
       by 30 percentage points in market coverage in 1996.

       That year, Mr. Clarkson took over the group at Moody’s that analyzed such
       securities. The firm added new analysts and overhauled its ratings approach,
       allowing for higher ratings in the area. Within a year, Moody’s moved ahead of both
       Fitch and S&P in the sector. Rivals said that Moody’s had cut its standards. Mr.
       Clarkson was quoted as calling this “sour grapes.” He says now that the change in
       ratings approach was the right call.

       In 1999, Mr. Clarkson took over the part of the firm’s structured finance business
       that oversaw bonds and complex securities based on home mortgages. Moody’s
       rated just 14% of high-quality “prime” bonds in that area the year before he took
       over, compared with 51% that Fitch rated and 89% that S&P rated . . . .

       Moody’s top home mortgage analyst at the time, Mark Adelson, took a cautious
       approach that resulted in fewer triple A ratings. Mr. Clarkson shook things up,
       firing or reassigning about two dozen analysts and hiring new ones who started
       giving higher grades under a new methodology. Mr. Adelson left for an investment
       bank. In 2001, Moody’s market coverage was up to 64%.

                                             *     *      *

       Mr. Clarkson encouraged his people to be more responsive . . . and to find ways deals
       could get done within Moody’s methodologies . . . .

       “Brian Clarkson created a dialogue between Moody’s and the Street that was good,”
       says Paul Stevenson, a former Moody’s executive who now works at BMO Financial
       Group. But “the most recent problem,” he says, “is that the rating process became a
       negotiation.” [Emphases added.]

       86.     Consider a Bank of America mortgage deal in early 2001. According to the April 11,

2008, Wall Street Journal report, as in most such deals, the vast majority of the securities based on

the pool of mortgages would be rated triple-A. The question, however, was how big a chunk would

be rated lower – paying higher interest rates and bearing the brunt of any defaults that occurred.

Negotiations between Bank of America and Moody’s would then ensue, as follows:



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       A rating committee at Moody’s voted to require that the issuer put about 4.25% of
       the deal’s value in the lower-rated section, to provide extra protection for buyers of
       the top-rated section. But after Bank of America complained and said it might go
       with a different rating firm, Moody’s reduced the size of the lower-rated chunk
       slightly – saving the issuer some interest costs – according to people with
       knowledge of the matter.

                                             *     *      *

       In 2002, Mr. Clarkson’s realm extended to the fastest-growing business of CDOs. In
       this complex product, already-sliced-up bonds are further sliced into new pieces,
       based on risk and potential return. Moody’s was already rating 90% of the dollar
       value of CDOs. Mr. Clarkson told an analyst he didn’t want bad service to cause
       that to slip, people familiar with the matter say.

       “There was never an explicit directive to subordinate rating quality to market share,”
       says Mark Froeba, a former Moody’s analyst who recently started a bond valuation
       company that may compete with rating firms. “There was, rather, a palpable erosion
       of institutional support for rating analysis that threatened market share.” . . .
       [Emphases added.]

       87.     Under Clarkson, the Structured Finance group grew to account for approximately 43

percent of Moody’s revenue in 2006, up from 28 percent in 1998. By 2006, the Company had more

revenue from structured finance – $881 million – than its entire revenue had been in 2001.

       88.     Many of the Defendants received enormous profits from degrading the Company’s

credit ratings. According to the Wall Street Journal report:

       Employees, though paid a fraction of what they could earn on Wall
       Street, sometimes grew wealthy from Moody’s surging share price and
       their stock options. According to a regulatory filing, Mr. Clarkson’s
       compensation totaled $3.8 million in 2006. The firm’s chief executive,
       Raymond McDaniel, earned $8.2 million that year, more than twice what
       his predecessor made in 2000. Moody’s says the rise in their
       compensation reflected growth in the overall business, not just the
       mortgage area, and that much of the rise came from the increasing
       value of stock options that had been granted years before.

       By early 2007, some Moody’s analysts were growing worried about the
       market for securities backed by subprime mortgages. But Mr. McDaniel
       told a group of investors in May 2007: “The good-news story for us”



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        includes “very strong growth coming out of our largest business, which
        is the structured-finance business. It is both large and a significant
        growth engine for the company.”

        Despite some analysts’ concerns, Moody’s rated about 94% of the $190
        billion in mortgage-related and other structured-finance CDOs issued
        in 2007, the second busiest year ever. [Emphases added.]

        89.     Clarkson, based on his sixteen year record with the Company, including its market

share gains and tremendous revenue growth at his hands, received numerous promotions. On

August 7, 2007, he was promoted to President and Chief Operating Officer of Moody’s Investor

Service, “with overall responsibility for leading Moody’s ratings and research business.” Clearly,

Moody’s Board of Directors and senior managers, including McDaniel and the Director Defendants,

were entirely satisfied with, and ratified and adopted, Clarkson’s altered way of doing business.

        90.     On May 7, 2008, however, shortly after the Wall Street Journal exposé appeared,

Moody’s issued a press release announcing Clarkson’s resignation. Instead of being terminated for

cause, Clarkson was allowed to resign voluntarily and received full retirement benefits, including

early vesting of his restricted stock.

        91.     A further Wall Street Journal article, “At Request of Bond Issuers or Bankers, Credit-

Rating Firms Switch Analysts,” appeared on May 23, 2008. That article revealed that Defendants, at

the request of issuers, removed individual structured finance ratings personnel from ratings

assignments when issuers deemed such individuals to be “too fussy” or to raise too many questions

concerning the security at issue:

        At Moody’s, at least one analyst in the group that rated collateralized debt
        obligations, or CDOs, was moved off a particular investment bank’s deals within the
        past five years after bankers requested an analyst who raised fewer questions about
        their deals, according to people familiar with the matter.




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       Another mortgage analyst at Moody’s was moved to the firm’s surveillance unit
       after a Moody’s official agreed with an investment banker’s opinion that the
       analyst was too fussy, a person familiar with the situation said. The surveillance unit
       monitors the performance of deals that already have been rated, but doesn’t rate new
       issues.

                                               *     *      *

       When business was booming, Wall Street firms prized analysts who moved quickly,
       since investors were eager to pile into the mortgage market by buying bonds.
       Analysts who raised doubts about a deal could hurt revenues for the rating firm and
       investment bank. [Emphasis added.]

       92.     As the above article details, Defendants thereby caused Moody’s to completely invert

its historical processes of objectivity. Analysts who faithfully carried out in practice the independent

and objective standards that Defendants claimed the Company always maintained were, in fact,

removed from the ratings operations precisely because of their exercise of that professionalism.

                       “WE DRINK THE KOOL-AID”:
         DEFENDANTS’ WILLFUL PARTICIPATION IN THE DESTRUCTION

       93.     Defendants’ destruction of the integrity of Moody’s credit rating process was willful

and deliberate. At minimum, this misconduct evinces Defendants’ gross negligence and extreme

recklessness with regard to the affairs of Moody’s.

       94.     For example, institutional investors – the main end users of the Moody’s services –

repeatedly expressed their frustration with the accuracy and quality of the Company’s credit ratings

to Company officials. In July 2007, high-ranking officers at Moody’s received comments from four

such investors, PIMCO, Blackrock, Vanguard, and Fortis Investments.1




1
 The source of the allegations contained in ¶¶ 92-105 hereof is documents obtained by Congress and made
public during the hearing by the U.S. House Committee on Oversight and Government Reform (Rep. Henry




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       95.     PIMCO’s representative, Josh Anderson, told Defendants that Moody’s methodology

was “still flawed – and we’ll tell you why.” As noted by the Moody’s officer, Mr. Anderson then

“proposed that we convene a call with ‘senior managing directors’ at Moody’s and investment

professionals at PIMCO and they would have an off-the-record discussion of what they still thought

were major shortcomings in the methodology and assumptions. I thanked him for the offer and said

that I would follow-up.”

       96.     Blackrock’s representative, Ron D’Vari, told the Moody’s officer that (as paraphrased

by the Moody’s officer referring to Moody’s) “We can do a better job to ensure that credit,

origination, re-packaging, and structuring have an integrity and that there’s proper due diligence at

all levels. At this point, we have lost control at all stages.” [Emphasis added.]

       97.     Vanguard’s representative, Mabel Yu, was emphatic. The Moody’s officers notes of

the conversation are as follows:

       Yu expressed “frustration” with the rating agencies’ willingness to “allow issuers
       to get away with murder.” . . .

       Over the recent months, Yu reports that Vanguard has become less and less
       comfortable with rating labels. “It feels like there’s a big party out there. The
       agencies are giving issuers every benefit of the doubt.” She feels that there’s also too
       much competition between the rating agencies. “I feel that if Moody’s doesn’t give
       the rating, the issuer can simply go elsewhere and get it somewhere else,” she said.
       ...

       I asked Mabel if she had shared her concerns with anyone at Moody’s. She replied
       that she had only talked with deal analysts commenting to them that LTV’s have
       gone up, FICO’s have gone down, that there are more negative amortization loans,
       more ARM loans and that rates and default rates have been rising. “They [the



A. Waxman, Chair). The documents are available at http://oversight. house.gov/story.asp?ID=2250 (last
visited October 28, 2008).




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       Moody’s deal analysts] would always come back with the standard answers: ‘we
       have enough subordination – we’ve stressed the portfolio.’ But I would always
       wonder if they only stressed the portfolio factor by factor or if they had stressed all
       the factors simultaneously. I never got a straight answer,” commented Yu.
       [Emphases added.]

       98.    A different Moody’s officer took comments from the representative of Fortis

Investments. The comments were memorialized in an e-mail to other officers at Moody’s, including

Almeida and McDaniel:

       All-

       I just got off a tough call with Maryam Muessel from Fortis Investments. She’s the
       Chief Investment Officer of Global CDOs. She requested to speak to someone very
       senior, very quickly. She and other investors (blackrock is one of the names she
       mentioned) have formed a steering group to try to get the rating agencies to listen
       to the needs of investors. She is extremely frustrated. Had a few choice words for
       me, here’s a recap:

       “If you can’t figure out the loss ahead of the fact, what’s the use of using your
       ratings?”

       “you have legitimized these things” referring to subprime & abs cdos and “leading
       people into dangerous risk.”

       “If the ratings are b.s., the only use in ratings is comparing b.s. relative to more
       b.s.”

       “luckily I avoided Moody’s ratings, didn’t buy into your ratings, but 91 sucker
       managers did and were punished yesterday.” [First, bold-only emphasis in the
       original, all other emphases added.]

       99.    The above e-mail was forwarded to Almeida, who forwarded it to McDaniel with the

note “Not so good.” McDaniel received the e-mail and responded to Almeida on July 13, 2007:

“Maybe I should visit and have a high level chat to hear what’s on their mind?”

       100.   In September 2007, McDaniel participated in a “Managing Director’s Town Hall” at

which he told fellow high-ranking employees:




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       The purpose of this town hall … [is] so that we can speak as candidly as possible
       about what’s going on in the subprime market. …

       [W]hat happened was, it was a slippery slope. … What happened in ’04 and ’05 with
       respect to subordinated tranches is that our competition, Fitch and S&P, went
       nuts. Everything was investment grade. It didn’t really matter. …

       We tried to alert the market. We said we’re not rating it. This stuff isn’t investment
       grade. No one cared because the machine just kept going. [Emphases added.]

       101.    The following day, a member of the Moody’s management team commented as

follows:

       We heard 2 answers yesterday: 1. people lied, and 2. there was an unprecedented
       sequence of events in the mortgage markets. As for #1, it seems to me that we had
       blinders on and never questioned the information we were given. … As for #2, it is
       our job to think of the worst case scenarios and model them. … Combined, these
       errors make us look either incompetent at credit analysis, or like we sold our soul to
       the devil for revenue, or a little bit of both. [Emphasis added.]

       102.    On October 21, 2007, McDaniel typed out an e-mail, which he then sent to himself, in

which he outlined the remarks he would make to the full Board of Directors. The presentation was

entitled “Credit Policy Issues at Moody’s Suggested by the Subprime/Liquidity Crisis.” In the

presentation, McDaniel described what he called a “dilemma” and a “very tough problem” facing

Moody’s.

       103.    McDaniel’s remarks confirm his conscious awareness of (or reckless or grossly

negligent disregard for) and toleration for, debased credit rating standards at Moody’s throughout the

Relevant Period, as well as the disregard for his managerial responsibilities:

       The real problem is not that the market . . . underweight[s] ratings quality but rather
       that in some sectors, it actually penalizes quality by awarding rating mandates based
       on the lowest credit enhancement needed for the highest rating. Unchecked,
       competition on this basis can place the entire financial system at risk. It turns out
       that ratings quality has surprisingly few friends: issuers want high ratings; investors
       don’t want ratings downgrades; short-sighted bankers labor short-sightedly to game
       the ratings agencies for a few extra basis points on execution.



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       . . . Moody’s for years has struggled with this dilemma. On the one hand, we need to
       win the business and maintain market share, or we cease to be relevant. On the other
       hand, our reputation depends on maintaining ratings quality (or at least avoiding big
       visible mistakes). For the most part, we hand the dilemma off to the team [Managing
       Directors] to solve. As head of corporate ratings, I offered my managers precious
       few suggestions on how to address this very tough problem, just assumed that they
       would strike an appropriate balance. I set both market share and rating quality
       objectives for my [Managing Directors], while reminding them to square the circle
       within the bounds of the code of conduct.

       104.    Claiming that the Company had “erected safeguards to keep teams from too easily

solving the market share problem by lowering standards,” McDaniel then stated: “This does NOT

solve the problem.”

       105.    Addressing the topic “Rating Erosion by Persuasion,” McDaniel went on to state:

       Analysts and [Managing Directors] are continually “pitched” by bankers, issuers,
       investors – all with reasonable arguments – whose views can color credit judgment,
       sometimes improving it, other times degrading it (we “drink the kool-aid”).
       Coupled with strong internal emphasis on market share & margin focus, this does
       constitute a “risk” to ratings quality. [Emphasis added.]

       106.    In November 2007, Moody’s Vice Chairman, Christopher Mahoney – whom

McDaniel had appointed to lead a Global Financial Risks Perspectives Series, wrote McDaniel that

Moody’s “has made mistakes” and urged that “the manager in charge of the securitization area

should be held to account.” However, it was not that manager’s, but rather Mahoney’s, employment

that was terminated by the end of the year.

       107.    Throughout the Relevant Period, officers of Moody’s repeatedly warned Defendants

about the dangers of the debasement of the credit rating system. Jerome Pons, the former head of the

Company’s Fundamental Credit Committee, told a Congressional committee on October 22, 2008

(emphasis added):




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Mrs. MALONEY: Mr. Fons, you used to work at Moody’s. This document
[McDaniel’s e-mail of October 21, 2007] appears to contradict years of public
statements by Mr. McDaniel and other Moody’s officials that they are not pressured
by the issuers. And I’d like to ask you, Mr. Fons, are you surprised by this kind of
assessment that Mr. McDaniel would be making to his board of directors?

Mr. FONS: No, I'm not surprised at all. I mean, this totally reflected my views and
the views of many others at the firm. Many, of course, didn’t want to hear this.
One problem with this whole statement is that the emphasis is on rating quality, and
in my view that is something that has never really been clearly articulated by the
agencies or by the regulators or by anybody else. We talk about ratings quality, but
there is no clear definition of what that means, and without a firm target there, we
don’t have much to go on. But clearly what he is referring to is accurate ratings here.
And we definitely knew that the investors were conflicted in what they wanted in
terms of having stable ratings on bonds once they held them, that issuers are
conflicted and they wanted high ratings on their securities, whether or not they
deserved them, and that bankers were taking advantage of the competition in the
industry to game the system. [Emphases added.]

108.   Similarly, Mr. Pons also testified, in part, as follows:

Ms. MCCOLLUM: In this e-mail Moody’s officials described a tough phone call
with the chief investment officer at Fortis Investments. The Moody official wrote
that the Fortis investor requested to speak to someone very senior very quickly. She
said she was extremely frustrated and had a few choice words, and here’s what she
told the Moody official: If you can’t figure out the loss ahead of the fact, what’s the
use of your ratings? You had legitimized these things, referring to subprime and
ABS, that’s asset-backed CDO assets, as leading people into dangerous risk.

       Quote again, “If the ratings are BS, the only use in ratings is to compare
BS relatively to BS.”

        Mr. Fons, you used to work at Moody’s, so my question for you is going to
be that’s a pretty damning indictment of the entire system, to use the phrase, and I
quote her again, to use only ratings “compared BS relatively to BS.”

       So my question to you, does Fortis have a point?

Mr. FONS: Absolutely. The deterioration in standards was [palpable]. As I said,
evidence first arose at least in 2006 that things were slipping, and the analysts or
the managers for whatever reason turned a blind eye to this, did not update their
models or their thinking and allowed this to go on. And what these investors are
most upset about clearly, is the fact that a triple-A was downgraded.




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               Triple-As had historically been very stable ratings through time. And so
       there was an implicit compact, if you will, that the triple-A was to be something that
       was to last at least for several years without losing that rating. And when you see
       something go from triple-A to a low reading in such a short period of time, clearly
       that’s evidence of a massive mistake somewhere.

               So she’s venting her frustration.

       Ms. MCCOLLUM: So the triple-A is like the gold standard?

       Mr. FONS: It is, yeah. It’s the brand. That’s what Moody’s is selling. [Emphases
       added.]

       109.    Mr. Fons issued a searing indictment of Defendants and other managers at Moody’s,

who sacrificed their duties to the Company and its shareholders in the pursuit of profits at all costs

(emphasis added):

       Mr. SARBANES: [Turning] to the question of, you can change procedures, you can
       change controls, you can change people that protocols, et cetera, but why should we
       trust the same who ignored these warnings to fix the problem in a way means it’s not
       going to happen going forward?

              So I think that’s what you’re getting at. If you could just speak to that a little
       more specifically, I’d appreciate it.

       Mr. FONS: I think that’s exactly what I meant, that you still have the same overall
       incentives in place, you still have the same structures; and as you said, they should
       have been doing those things in the first place. These are not reforms; these are just
       doing business properly and doing them better.

               So at the governance level you need the board of directors who are actually
       acting in shareholders’ interest and that interest is preserving the franchise and
       preserving the reputation of the firm. And I didn’t see that happening. They
       weren’t interested in hiring good businessmen and seeing a business run; and as I
       said, that’s why I have advocated wholesale change at those levels. [Emphasis
       added.]

       110.    McDaniel himself seemed ignorant of his fiduciary duties to the Company and its

shareholders. In testimony before Congress on October 22, 2007, the following exchange occurred :




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       Ms. SPEIER: Thank you, Mr. Chairman. And thank each of you for participating
       today. Consumer Reports is a rating agency, and it rates appliances and cars and
       electronics; and it’s well regarded by the consuming public because it's scrupulous
       about not engaging in conflicts of interest. So I'm going to ask you a couple of
       questions. Who do you owe a fiduciary duty to, the issuer or the investor? Just
       answer it with one word. Mr. Joynt.

       Mr. JOYNT: I don't know. Fiduciary responsibility, I'm not sure I can answer that
       question. So I feel quite responsible to provide our best opinion to investors and
       everyone in the market. I don't feel a special responsibility to issuers.

       Ms. SPEIER: Mr. McDaniel?

       Mr. MCDANIEL: The responsibility is ultimately to the marketplace.

       Ms. SPEIER: To the investor?

       Mr. MCDANIEL: To the market. The investor is an absolutely critical component
       of an effectively functioning marketplace, so we must be responsible to the
       investor. We also have a responsibility to the overall good operation of the markets
       themselves.

       Ms. SPEIER: Mr. Sharma?

       Mr. SHARMA: Trust is the life blood of our franchise, and we see ourselves as the
       bridge between the issuers and the investors –

       Ms. SPEIER: Just answer the question.

       Mr. SHARMA: Responsibility to the investors is the most critical thing for us.
       [Emphases added.]

                            THE TRUTH BEGINS TO EMERGE

       111.    Beginning in 2007, delinquency and foreclosure rates for subprime mortgage loans

dramatically increased, creating turmoil in the markets for RMBS backed by such loans and CDOs

linked to such securities. As the performance of these securities continued to deteriorate, Moody’s

was forced to downgrade the ratings of a significant number the securities.




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       112.    For example, on July 11, 2007, Defendants caused Moody’s to announce that the

Company was downgrading 399 mortgage-backed securities issued in 2006 and reviewing an

additional 32 mortgage-backed securities for downgrade, affecting approximately $5.2 billion worth

of bonds. The same day, Defendants also disclosed that the Company had downgraded 52 bonds

issued in 2005.

       113.    In addition to the foregoing, on August 10, 2007, there were a series of public reports

detailing the conflicts of interest in Moody’s structured finance business and suggesting that the

conflict might have caused inaccurate and inflated ratings by Moody’s.

       114.    On or about August 20, 2007, Senator Richard Shelby, the head of the U.S. Senate

Banking Committee, remarked that credit rating agencies must shoulder some responsibility for the

subprime mortgage crisis. Reports indicated that Moody’s was facing Congressional scrutiny for an

“inherent” conflict of interest in helping to construct mortgage-backed securities and then opining on

their creditworthiness.

       115.    As a result of the spreading contagion caused by Defendants’ corrupted ratings, the

SEC initiated examinations of Moody’s and its primary competitors in late August 2007, and the

Attorney General for the State of New York, Andrew Cuomo, added Moody’s and other rating

agencies in his investigation of the mortgage industry.

       116.    On September 21, 2007, Defendants caused Moody’s to reclassify many of its

“midprime” ratings, further evidencing the inaccuracy and unreliability of its previous rating system.

       117.    On September 26 and 27, 2007, there were hearings in Congress concerning the role

of Moody’s and other rating agencies in the credit crisis.




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        118.    At the Congressional hearings, several present and former Moody’s personnel,

including Defendants, faced pointed questions from angry members of Congress.

        119.    On October 3, 2007, Defendants caused Moody’s to make a disclosure of the

structural defects in many of the subprime products that it had rated in 2006.

        120.    On October 24, 2007, Defendants announced the Company’s quarterly earnings.

These earnings were the first to reveal the deterioration of Moody’s structured finance business.

Defendants reported that “U.S. structured finance performance in the quarter completely offset

revenue gains across the other U.S. rating and research business, declining 14% year-over-year.

Within U.S. structured finance, revenue growth of 29% from rating commercial mortgage backed

securities was more than offset by revenue declines across all other asset classes led by a 52%

decrease in revenue from rating residential mortgage backed securities.” Structured finance, in

short, was visibly dragging the Company down, and defendant McDaniel reduced financial guidance

for the entire year as a result.

        121.    On February 7, 2008, Defendants released Moody’s results for the fourth quarter and

full year 2007. The results were dismal and included: (a) a 54 percent profit decline and a 23

percent revenue decline, due in large part to (b) a 25 percent ratings revenue decline, which in turn

was driven by (c) a 53 percent reduction in structured finance revenue. Given such steep declines in

ratings revenue and especially structured finance ratings revenue, Defendants disclosed that they

expected the Company’s revenues to decline during 2008 “in the low double digit percentage range.”

        122.    In the earnings announcement, defendant McDaniel stated:

        Moody’s confronted unprecedented challenges in 2007 as credit problems that began
        in the U.S. housing sector affected important parts of our ratings business globally.
        . . . The severity and protracted nature of current credit market dislocations confirms
        that the challenges of 2007 will persist well into 2008. Moody’s is responding to



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       these conditions by providing more extensive research and credit evaluation tools.
       We are also working closely with market participants on information transparency in
       order to restore confidence and to support more orderly credit market operations as
       quickly as possible.

       123.    The New York Attorney General, Mr. Cuomo, saw right through the changes

announced by Defendants, and lost no time in saying so. Mr. Cuomo issued a public statement as

follows: “The supposed reforms announced . . . by Moody's on Tuesday are too little too late.

Both S & P and Moody's are attempting to make piece-meal change that seem more like public

relations window dressing than systemic reform. My Office will continue its active investigation of

the mortgage industry and the role played by the ratings agencies in the mortgage meltdown.”

[Emphasis added.]

       124.    Four weeks later, on March 11, 2008, Defendants reduced the 2008 guidance they had

supplied, as a result of even steeper declines in structured finance ratings revenue. Defendant

McDaniel told a media company investor conference that he expected a decrease in the mid-20-

percent range in overall ratings revenue, a substantial increase from previous forecasts.

       125.    On May 20, 2008, in an article entitled “Moody’s Error Gave Top Rating to Debt

Products,” the Financial Times reported that the Company had incorrectly awarded triple-A ratings

to billions of dollars worth of certain asset-backed securities, known as constant proportion debt

obligations (“CPDOs”), and that senior officers knew of this as of early 2007:

       Internal Moody’s documents seen by the FT show that some senior staff within the
       credit agency knew early in 2007 that products rated the previous year had received
       top-notch triple A ratings and that, after a computer coding error was corrected, their
       ratings should have been up to four notches lower.

       New of the coding error comes as rating agencies are under intense pressure from
       regulators and governments, who see failings in the rating of complex structured debt
       as an integral part of the financial crisis. While coding errors do occur there is no
       record of one being so significant.



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       Moody’s said it was “conducting a thorough review” of the rating of the constant
       proportion debt obligations – derivative instruments conceived at the height of the
       credit bubble that appeared to promise investors very high returns with little risk.
       Moody’s is also reviewing what disclosures of the error was made.

       126.    The Financial Times further revealed that, although Defendants had discovered the

error in early 2007, they had not only: (a) declined to downgrade ratings until January 2008, but also

(b) according to documents, when they finally recognized the error, rather than downgrading the

erroneously-rated instruments, Defendants amended the methodology employed in order to keep the

Aaa ratings for the instruments that were originally, and erroneously, assigned.

       127.    Bloomberg reported that $4 billion worth of CPDOs were affected, and that some had

fallen in value by as much as 90 percent.

       128.    On May 21, 2008, Senator Charles Schumer and Representative Paul Kanjorski stated

in a letter to the Securities and Exchange Commission (“SEC”) that “[t]he news today about

Moody’s greatly concerns [us] . . . . Moody’s must come forward immediately to explain and clarify

what happened. . . . We also want to know when the Commission learned of these problems and

whether it might have affected Moody’s application under the 2006 law for continued designation as

a [NRSRO].”

       129.    That same day, Defendants caused Moody’s to disclose that it had retained the law

firm of Sullivan & Cromwell and initiated a “thorough external review” of its rating process for the

securities. Defendants represented that they “would take any appropriate actions after the review is

completed.”

       130.    On May 26, 2008, it was belatedly disclosed that the SEC had commenced an

investigation into Moody’s business practices. Reuters reported as follows:




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       The U.S. Securities & Exchange Commission (SEC) is looking into the workings of
       the three main credit rating agencies, prompted by their handling of the subprime
       crisis and a report of computer errors at Moody’s . . . . “We sent letters to Moody’s,
       Standard & Poor’s and Fitch asking for them to get back to us on aspects of their
       methodology,” said Erik Sirri, director of the SEC’s trading and markets division.
       “We asked them to explain the policies and procedures used to detect errors in
       ratings of structured finance products and to tell us about any errors that they found
       in structured finance products over the last four years, including steps that they
       followed to correct the problem,” he added.

                                              *     *      *

       The Financial Times reported last week that Moody’s had wrongly assigned triple-A
       ratings to complex European debt products called constant proportion debt
       obligations, or CPDOs. Moody’s said it rated 44 European CPDO tranches totaling
       about $4 billion. It said it had hired law firm Sullivan & Cromwell to conduct an
       investigation into why the coding error in a computer model caused the products to
       be given a rating four notches higher than they merited.

       131.   On June 5, 2008, the New York Attorney General, Mr. Cuomo, announced a

settlement with Moody’s and other rating agencies. Mr. Cuomo’s press release read in part:

 ATTORNEY GENERAL CUOMO ANNOUNCES LANDMARK REFORM AGREEMENTS WITH
           THE NATION’S THREE PRINCIPAL CREDIT RATING AGENCIES

                     Standard & Poor’s, Moody’s, and Fitch Agree to
      Change Fee Structures, Obtain Due Diligence Information for the First Time, and
   Create Due Diligence and Lender Standards for Residential Mortgage-Backed Securities

       NEW YORK, NY (June 5, 2008) - Attorney General Andrew M. Cuomo today
       announced that he has reached landmark agreements with the nation’s three principal
       credit rating agencies that will fundamentally reform the Residential Mortgage-
       Backed Securities (“RMBS”) market. The agreements with Standard & Poor’s
       (“S&P”) Moody’s Investors Service, Inc. (“Moody’s”), and Fitch, Inc. (“Fitch”) will
       dramatically increase the independence of the ratings agencies, ensure that crucial
       loan data is provided to the agencies before they rate loan pools, and increase
       transparency in the RMBS market.

       Under the agreements with Attorney General Cuomo, the credit rating agencies will
       fundamentally alter how they are compensated by investment banks for providing
       ratings on loan pools. In addition, the ratings firms will all now require for the first
       time that investment banks provide due diligence data on loan pools for review prior
       to the issuance of ratings. This will ensure that significant data, which was not



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      previously disclosed to the rating agencies, will be received and reviewed by them
      before any bonds are rated.

      “The mortgage crisis currently facing this nation was caused in part by
      misrepresentations and misunderstanding of the true value of mortgage securities.
      The tremendous reach of this crisis cannot be understated -- our entire economy
      continues to feel aftershocks from the collapse of the mortgage industry,” said
      Attorney General Cuomo. “By increasing the independence of the rating agencies,
      ensuring they get adequate information to make their ratings, and increasing
      industry-wide transparency, these reforms will address one of the central causes of
      that collapse. The reforms agreed to today by S&P, Moody’s, and Fitch should begin
      to restore investor confidence during what is a very troubling time for the mortgage
      industry, and I applaud the firms for their cooperation with our investigation.”

      Residential Mortgage-Backed Securities are bonds issued by large financial
      institutions backed by pools of individual home mortgages. An investigation by
      Attorney General Cuomo found that there were certain structural issues in the RMBS
      market that needed to be reformed in order to help restore investor confidence. These
      issues included that credit rating agencies were typically only compensated by
      investment banks if they were selected by the investment banks to provide an
      ultimate rating on a loan pool.

      The agencies were paid no fees during their initial reviews of the loan pools or
      during their discussions and negotiations with the investment banks about the
      structuring of the loan pools. Investment banks were thus able to get free previews of
      RMBS assessments from multiple credit rating agencies, enabling the investment
      banks to hire the agency that provided the best rating. In addition, the Attorney
      General’s investigation found that credit rating agencies were not privy to pertinent
      due diligence information that investment banks had about the mortgages comprising
      the loan pools.

      132.   On July 1, 2008, Defendants announced that the Company’s “external investigation”

of the European CPDOs had revealed that

      members of a European CPDO monitoring committee engaged in conduct contrary to
      Moody’s Code of Professional Conduct. Specifically, some committee members
      considered factors inappropriate to the rating process when reviewing CPDO ratings
      following the discovery of the model error. According to Moody’s Code of
      Professional Conduct, a committee may consider only credit factors relevant to the
      credit assessment and may not consider the potential impact on Moody’s, or an
      issuer, an investor or other market participant.




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       133.    As a result of these “findings,” Defendants announced that Moody’s had initiated

unspecified “employee disciplinary proceedings” with respect to unidentified individuals, and had

“accelerated measures to strengthen its rating and monitoring processes.”

       134.    Later that same day, Defendants announced that Noel Kirnon, the head of the

Company’s global structured finance business, was “leaving Moody’s effective July 31st” for lapses

in ratings of the European CPDOs.

       135.    The SEC published the results of its examinations of Moody’s and its competitors on

July 8, 2008. The Commission identified glaring problems in all processes of the Company’s ratings

process, including issues of documentation, conflicts of interest, disclosure, adherence to models,

policies and procedures, surveillance, and analyst participation in deal terms Among the

Commission’s findings were the following (bolding and italicization as in the original):

       •   Internal documents at two of the rating agencies [including Moody’s] appear
           to reflect struggles to adopt to the increase in the volume and complexity of the
           [structured finance] deals.

       •   Rating agencies [including Moody’s] made “out of model adjustments” and did
           not document the rationale for the adjustment.

       •   None of the rating agencies examined [including Moody’s] had specific written
           procedures rating RMBS and CDOs.

       •   Rating agencies [including Moody’s] do not appear to have specific policies
           and procedures to identify or address errors in their models or methodologies.

       •   The rationale for deviations from the model or out of model adjustments was
           not always documented in deal records [including at Moody’s].

       •   There was also a lack of documentation of committee actions and decisions
           [including at Moody’s].

       •   There was sometimes no documentation of committee attendees [including at
           Moody’s].




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          •   The Surveilliance Processes Used by the Rating Agencies [including
              Moody’s] Appear to Have Been Less Robust Than Their Initial Ratings
              Processes

          •   While each rating agency has policies and procedures restricting analysts from
              participating in fee discussions with issuers, these policies still allowed key
              participants in the ratings process to participate in fee discussions.

          •   Analysts appeared to be aware, when rating an issuer, of the rating agency’s
              business interest in securing the rating of the deal [including at Moody’s].

          •   Rating agencies [including Moody’s] do not appear to take steps to prevent
              considerations of market share and other business interests from the possibility
              that they could influence ratings or ratings criteria.

          136.   The United States Congress held hearings on Defendants’ misconduct on October 22,

2008. The proceedings were chaired by Representative Henry A. Waxman, Chair of the House

Committee on Oversight and Government Reform. Among others, Congress heard testimony from

defendant McDaniel, and the Committee also examined e-mails and internal correspondence

produced by Moody’s and its competitors.

          137.   Rep. Waxman stated: “The story of the credit rating agencies is a story of colossal

failure. “They broke a bond of trust... and the result is that our entire financial system is now at

risk.” [Emphasis added.] Rep. Waxman specifically addressed the explanations provided by

defendant McDaniel and his cohorts at other ratings agencies: “In their testimony today, the CEOs

of Standard and Poor’s Moody’s, and Fitch will us that “virtually no one . . . anticipated what is

occurring.” But the documents the Committee obtained tell a different story.” [Emphasis

added.]

          138.   The Boston Globe ably summarized the self-serving nature of the testimony by

defendant McDaniel and his cohorts:




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       Deven Sharma of Standard & Poor's, Raymond McDaniel of Moody’s Corp., and
       Stephen Joynt of Fitch Inc. all raised their right hands in oath Wednesday. They
       proceeded to tell the congressional committee they were caught off guard by the
       financial disaster that unraveled. Otherwise, they pronounced themselves completely
       innocent.

       139.    One day later, Alan Greenspan, the fabled former Chairman of the Federal Reserve

Bank, told Congress that “[t]he . . . surge in global demand for U.S. subprime securities by banks,

hedge and pension funds, supported by unrealistically positive rating designations by credit

agencies was, in my judgment, the core of the problem.” [Emphasis added.]

                      “YOUR REPUTATION’S IN TATTERS”:
               THE CONSEQUENCES OF DEFENDANTS’ MISCONDUCT

       140.    The economic impact on Moody’s from Defendants’ manipulation of the ratings

process will be in the tens, and possibly hundreds, of billions of dollars.

       141.    First will be the lost business as a result of Defendants’ shredding of the Company’s

reputation for objectivity and independence, the key “value add” that it brought to the market.

Jerome Fons, former chair of the Company’s Fundamental Credit Committee, emphasized to

Congress on October 22, 2008, the reputational capital that Moody’s has lost in Defendants’ hands:

       Moody’s own reputation for independent, accurate ratings sprang from a hardheaded
       culture of putting investors’ interests first. This reputation helped propagate the use
       of ratings in regulations and investment guidelines. Up until the late 1960’s, the firm
       often refused to meet with rated companies. Published methodologies were all but
       non-existent and ratings were assigned by an inaccessible, small group of analysts
       and managers. Even through the mid-1990s, Moody’s was considered the most
       difficult firm on Wall Street to deal with.

       142.    Defendants and their colleagues at Moody’s admit the destruction of reputational

capital at the Company.

       143.    On March 11, 2008, defendant McDaniel, in announcing a material reduction in

Moody’s financial guidance for 2008, stated: “I think our reputation has been hurt by what’s gone



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on. I think it would be frankly, disingenuous for me to say it hadn’t been. . . . [W]e are a business

that really works off of reputational capital more so than others.” [Emphasis added.]

       144.    During Congressional hearings in April 2008, a senior managing director in Moody’s

asset finance group conceded the point as well:

       SEN. SHELBY: Your reputation’s in tatters right now, wouldn’t you think, in the
       financial arena – all the rating agencies are challenged deeply now? You wouldn’t
       agree to that?
       MS. ROBINSON: Oh, yeah. We are challenged at the present time.

       145.    During 2007 and 2008, Defendants have made a series of increasingly bleak earnings

announcements and revenue forecasts. As a result of the Company’s dependence on ratings revenue

from structured finance securities, and the gutting of its reputation of objectivity at the hands of

Defendants, overall revenue has taken a gigantic hit.

       146.    The market has confirmed the economic import of Defendants’ destruction of

reputational capital at Moody’s. For example, when the Financial Times revealed that Defendants

had “gamed” the methodology for assigning ratings to European CPDOs in January 2008 (so as to

keep the Aaa ratings that were originally, and erroneously, assigned), the Company’s stock price

declined $9.40 per share, or 21.4 percent of their remaining value, falling from $43.90 on May 20,

2008 to $34.51 on May 22, 2008. CPDO issuance was and is a tiny market compared to the nearly

one-trillion-dollar subprime RMBS and CDOs that Moody’s rated each year. The market’s response

to disclosure of Defendants’ manipulation, therefore, had nothing to do with the size of the CPDO

market but everything to do with the harm to Moody’s reputation, trustworthiness, and objectivity.

As Professor John Coffee testified before Congress:

       [Gatekeepers such as Moody’s] develop “reputational capital” over many years and
       many clients that leads investors to rely on them, in part because investors know that
       the gatekeeper will suffer a serious reputational injury if it is associated with a fraud



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       or unexpected insolvency. Because this injury should be greater than any amount the
       issuer can pay the gatekeeper to acquiesce in its fraud, it should deter the gatekeeper
       from involvement in fraud. From this perspective, “reputational capital” is in effect
       “pledged” by the gatekeeper in support of the issuer’s statements. But when the
       market learns that the gatekeeper failed to uncover fraud or related problems (or
       that it blinked at them), the resulting loss of confidence, both in the gatekeeper and
       in the market’s mechanisms generally, can produce a sharp decline in stock
       market values . . . . [Emphasis added.]

       147.    With each lowered earnings announcement and forecast, the Company’s stock price

has been beaten down. During the relevant period, Moody’s stock price has been cut in three –

dropping from an all-time high of nearly $75 in February 2007 to just over $21 on October 23, 2008:




       148.    Second, the Company now faces lawsuits from investors and other parties victimized

by Defendants’ lies about the creditworthiness of thousands of debt securities. A massive securities

class action was commenced in this District, In re Moody’s Corporation Securities Litigation, No.

1:07-cv-8375-SWK. The Consolidated Amended Complaint filed in the securities action was filed

on June 27, 2008, and is 248 pages long, covering every aspect of Defendants’ headlong plunge into

tainted ratings and the consequences to Moody’s and the U.S. economic system.




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       149.    Third, the Company will be required to spend millions, and perhaps billions, of

dollars in completely cleansing and reforming its credit analysis operations – a financial commitment

already undertaken in enacting reforms required by the New York Attorney General as a condition of

settlement. Other regulatory and government agencies that have investigated or are investigating the

Company include the SEC, the Attorney General for the State of Connecticut, the Attorney General

for the State of Ohio, the International Organization of Securities Commissions, the Committee of

European Securities Regulators, and the Financial Stability Forum

       150.    Fourth, there is even question Moody’s can continue as a going concern. For

example, if, as a result of Defendants’ misconduct, the Company’s status as an NRSRO is

withdrawn, any ratings it issues in the future will not “count” for regulatory purposes. For example,

many regulated financial institutions can only invest in securities bearing certain minimum credit

ratings as determined an NRSRO. If that happens, the Company’s market share will plummet from

its recent level of approximately 40 percent, down to essentially zero.

                     MATERIALLY FALSE AND MISLEADING
                    STATEMENTS REGARDING DEFENDANTS’
                 MANIPULATION OF THE CREDIT RATING PROCESS

       151.    While privately confessing that the Company’s capitulation to rate shopping could

endanger not only Moody’s and investors, but also the entire U.S. financial system, Defendants

maintained the exact opposite stance to the public and its shareholders, including the Retirement

System. Indeed, throughout the Relevant Period, Defendants issued public statements concerning

the integrity and reliability of the Company’s credit rating process that were devoid of truth and

utterly misleading by the omission of material information.




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       152.    Throughout the Relevant Period, Defendants represented in filings with the SEC, in

its Code of Professional Conduct, in the Annual Reports it distributed to Moody’s shareholders, in a

variety of Moody’s Investor Service publications concerning Moody’s ratings, and in statements to

the financial media, that: (a) Moody’s was an “independent” and “credible” provider of credit

ratings; (b) Moody’s had adequately disclosed and managed or eliminated the potential conflicts of

interest in its (“issuer pays”) business model, as required by its Code of Professional Conduct; (c)

Moody’s did not participate in the structuring of the structured finance securities that it rated, but

was sheerly an independent rating organization; (d) the credit ratings Moody’s gave to structured

finance securities (Aaa, Aa, A, Baa, Ba, B, Caa, Ca, and C) were consistent with, and calibrated to

correspond to, Moody’s “Global Scale” applicable to traditional debt obligations; (e) Moody’s credit

ratings reflected all information known and believed to be relevant; (f) Moody’s credit ratings were

influenced solely by factors relevant to the credit assessment and were not affected by the existence

of, or potential for, a business relationship between Moody’s and the entities that paid Moody’s to

provide credit ratings; and (g) Moody’s responses to regulators’ concerns over the Company’s

independence had been adequate and had sufficed to allay those concerns.

       153.    The above representations were made on the following dates in the following places

or formats, among others:

               (a)     Code of Professional Conduct, adopted June 2005, maintained on Company
                              website
                       December 2006 Code of Business Conduct, maintained on Company website
                       2006 Form 10-K (Feb. 28, 2007) filed publicly with SEC
                       2006 Annual Report distributed to shareholders in March 2007
                       October 23, 2007, Press Release (“Moody’s Investors Service Updates Its
                              Code of Professional Conduct”)
                       2007 Form 10-K (Feb. 29, 2008) filed publicly with SEC
                       2007 Annual Report distributed to shareholders in March 2008
                       Investor Presentation made on May 15, 2008



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            Investors’ Day Presentation made on June 5, 2008 (Waldorf-Astoria)
            July 1, 2008, Press Release (“Moody’s Investors Service Announced Actions
                    After Review of European CPDO Ratings Process”)

      (b)   April 12, 2006, Report on Implementation of Code of Professional Conduct,
                   maintained on Company website
            2006 Annual Report distributed to shareholders in March 2007
            2006 Form 10-K (Feb. 28, 2007) filed publicly with SEC
            2007 Annual Report distributed to shareholders in March 2008
            October 23, 2007, Press Release (“Moody’s Investors Service Updates its
                   Code of Professional Conduct”)
            2007 Form 10-K (Feb. 29, 2008) filed publicly with SEC
            Moody’s Code of Ethics (Mar. 25, 2008), maintained on Company website

      (c)   Code of Professional Conduct, adopted June 2005, maintained on Company
                   website
            April 12, 2006, Report on Implementation of Code of Professional Conduct,
                   maintained on Company website

      (d)   April 12, 2006, Report on Implementation of Code of Professional Conduct,
                   maintained on Company website

      (e)   Code of Professional Conduct, adopted June 2005, maintained on Company
                   website
            April 12, 2006, Report on Implementation of Code of Professional Conduct,
                   maintained on Company website

      (f)   Code of Professional Conduct, adopted June 2005, maintained on Company
                   website
            April 12, 2006, Report on Implementation of Code of Professional Conduct,
                   maintained on Company website

      (g)   Investors’ Day Presentation made on June 5, 2008 (Waldorf-Astoria),
                   maintained on Company website
            August 7, 2007, Press Release (“Moody’s Corporation Announces New
                   Business Unit Structure”)
            2007 Annual Report distributed to shareholders in March 2008
            Investor Presentation made in July 2008, maintained on Company website
            Investor Presentation made on Aug. 11, 2008, maintained on Company
                   website
            Presentation by Huber at William Blair Growth Conference, June 17, 2008,
                   maintained on Company website
            Presentation by McDaniel on Moody’s First Quarter 2008 Earnings Call,
                   Apr. 23, 2008, maintained on Company website



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                        Moody’s Second Quarter 2008 Earnings Call, July 30, 2008, maintained on
                             Company website

Specific statements containing the misrepresentations are set forth in Exhibit A to this Complaint.

        154.    None of the above repeated representations were true, and together they created a

picture of the state of affairs that was falsely and materially better than the one that actually existed.

In truth, as set forth herein: (a) Moody’s was not operating as an “independent” and “credible”

provider of credit ratings, but rather, its independence and credibility had been systematically

compromised; (b) Moody’s had declined to manage, let alone eliminate, its conflicts of interest; (c)

Moody’s did participate in the structuring of the structured finance securities it rated; (d) the credit

ratings that Moody’s bestowed on structured finance securities (Aaa, Aa, A, Baa, Ba, B, Caa, Ca,

and C) were not consistent with Moody’s “Global Scale” applicable to traditional debt obligations;

(e) Moody’s credit ratings failed to reflect all information known and believed to be relevant; (f)

Moody’s credit ratings were not influenced by factors relevant to the credit assessment and were

affected by the existence of, or potential for, a business relationship between the Company and the

entities that paid it to provide credit ratings; and (g) Defendants’ undisclosed destruction of the

integrity of the Company’s ratings processes were exposing Moody’s to significant regulatory

scrutiny and punishment, now being realized after Defendants’ misconduct came to light and their

misrepresentations were revealed as such.

                          LOSS CAUSATION:
       AS THE TRUTH EMERGES, MOODY’S STOCK PRICE IS CUT IN THREE

        155.    The Company’s stock price declined steadily and steeply as the truth of Defendants’

destruction of Moody’s rating process was revealed throughout the Relevant Period.




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       156.   Among the disclosures that contributed to the emergence of the truth were the

following:

              (a)     On July 12, 2007, Moody’s announced its first large wave of subprime RMBS

       downgrades, which gave the market reason to believe that Moody’s prior ratings were

       materially inflated. Similarly, on July 24, 2007, Moody’s issued a report on subprime losses.

       As the market digested this news, the share price dropped from $66.80 on July 12, 2007 to

       $53.80 on July 31, 2007 – a loss of nearly 20 percent of its value.

              (b)     On August 10, 2007, there were a series of public reports detailing the

       conflict of interest in Moody’s structured finance business and suggesting that the conflict

       might have caused inaccurate and inflated ratings by Moody’s. On August 20, 2007, Senator

       Richard Shelby, head of the U.S. Senate Banking Committee, remarked that credit rating

       agencies such as Moody’s must shoulder some of the blame for the subprime mortgage

       crisis. Reports noted that Moody’s was facing Congressional scrutiny for “inherent”

       conflicts of interest in helping to construct mortgage-backed securities and then issuing

       ratings on them. The share price declined $3.90 that day, Moody’s largest single-day decline

       in over a year. Between August 10, 2007, and September 17, 2007, the share price declined

       from $54.70 to $42.87 – another 20 percent drop in just a month and a half.

              (c)     On May 21, 2008, the market digested the Financial Times’s report the

       previous day of Defendants’ manipulation and subsequent cover-up of the European CPDO

       ratings process. When such concrete evidence was revealed, Moody’s share price spiked

       sharply downward, dropping from $43.90 on May 20, 2008, to $34.51 on May 22, 2008 – yet

       another 20 percent drop.




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               (d)     Finally, in late October 2008, the “last shoe dropped.” As the market heard

       defendant McDaniel drilled by members of Congress and reviewed the incriminating e-mails

       showing Defendant’ awareness and willful deception of investors, it lopped yet another 20

       percent off of Moody’s stock price – dropping it from $24.30 on October 21, 2008, to $19.29

       on October 24, 2008.

       157.    The drop in Moody’s share price during the Relevant Period cannot be explained by

reference to broader factors operative in the wider stock market or among comparable companies in

the same industry. For example, during the Relevant Period (until October 24, 2008), the share price

of Moody’s declined 73 percent, while the S&P 500 Index declined only 36 percent. Moreover, for

most of the Relevant Period, the S&P 500 Index outperformed Moody’s by a substantially wider

margin.

                                      INSIDER SELLING

       158.    Between April 1, 2006 and the present, during the height of Defendants’ debasement

of the credit ratings process at Moody’s, and before disclosure of Defendants’ wrongdoing,

defendants McDaniel, Glauber, McGillicuddy, Clarkson, Almeida, Huber, Dering, and McCabe (the

“Insider Selling Defendants”), while in possession of material, non-public information regarding the

Company’s exposure to losses, settlements, and liability, sold approximately $12,373,108 in

Moody’s stock on the basis of their inside information.

       159.    Each of the Insider Selling Defendants sold stock in the amounts set forth in

paragraphs 15, 18, 20, 23, 24, 27, 30, and 32, supra.




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        160.   The sales by the Insider Selling Defendants constituted a breach of their fiduciary

duties to the Company. In addition, it violated Moody’s corporate policy as contained in the

Company’s Code of Professional Conduct, its Code of Business Conduct, and its Code of Ethics.

                            DEFENDANTS’ BREACHES OF DUTY

        161.   Defendants had clear duties to Moody’s and its shareholders. These duties: (a) arose

by operation of law, and/or (b) were imposed upon them by the Company. Moreover, (c)

Defendants breached their duties as set forth in this Complaint.

                                   A.      General Duties at Law

        162.   By reason of their positions as officers, directors, and/or fiduciaries of Moody’s and

because of their ability to control the business and corporate affairs of the Company, Defendants

owed Moody’s and its shareholders fiduciary obligations of trust, loyalty, good faith, candor,

oversight, reasonable inquiry, supervision, and due care, and were and are required to use their

utmost ability to control and manage Moody’s in a fair, just, honest, and equitable manner.

Defendants were and are required to act in furtherance of the best interests of Moody’s and its

shareholders so as to benefit all shareholders equally and not in furtherance of their personal interest

or benefit.

        163.   Moreover, as officers and/or directors of a publicly-held company, Defendants had a

duty to promptly disseminate accurate and truthful information with regard to the Company’s

revenue, margins, operations, performance, management, projections, and forecasts so that the

market price of the Company’s stock would be based on truthful and accurate information.




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       164.    To discharge their legal duties, Defendants were required to exercise reasonable and

prudent supervision over the management, policies, practices, and controls of the financial affairs of

the Company. By virtue of such duties, Defendants were required, among other things, to:

               (i)     refrain from acting in any manner so as to favor their personal interests at the

       expense of the best interest of the Company and its shareholders;

               (ii)    ensure that the Company complied with its legal obligations and

       requirements, including acting only within the scope of its legal authority and disseminating

       truthful and accurate information to shareholders, the investing public, and the SEC;

               (iii)   conduct the affairs of the Company in an efficient, businesslike manner so as

       to make it possible to provide the highest quality performance of its business, to avoid

       wasting the Company’s assets, and to maximize the Company’s value;

               (iv)    properly and accurately guide investors and analysts as to the true financial

       condition of the Company at any given time, including making accurate statements about the

       Company’s financial results and prospects, and ensuring that the Company maintained an

       adequate system of financial and operational controls such that the Company’s financial

       reporting would be true and accurate at all times;

               (v)     remain informed as to how Moody’s conducted its operations and, upon

       receipt or notice of information of imprudent or unsound conditions or practices, make

       reasonable inquiry in connection therewith and take steps to correct such conditions or

       practices and make such disclosures as necessary to comply with federal and state securities

       laws;




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                (vi)    ensure that the Company was operated in a diligent, honest, and prudent

        manner in compliance with all applicable federal, state, and local laws, rules and regulations;

                (vii)   ensure that conflicts of interests and other features impairing the integrity of

        the credit rating process at the Company were eliminated;

                (viii) ensure that no inaccurate financial information about Moody’s was released to

        the public that would tend to artificially inflate the price of Moody’s stock, and that would

        thus cause corresponding or greater harm to the Company’s value when the truth was

        revealed; and

                (ix)    ensure that valuable corporate assets would not be wasted in payments of

        excessive compensation to officers who ruined the financial health and stability of the

        Company.

                                 B.       Specific Corporate Duties

        165.    In addition to their general duties at law described above, Defendants were obligated

to abide by the specific corporate duties set forth in governing corporate documents.

        166.    Moody’s had a “Code of Professional Conduct” applicable to the entire Company,

including Defendants. The purpose of the Code of Professional Conduct was “to protect the

integrity of the rating process, to ensure that investors and issuers are treated fairly, and to safeguard

confidential information provided to us by Issuers.” Among others things, the Code of Professional

Conduct required Defendants to:

        •   Develop and maintain rigorous and systematic rating methodologies;

        •   Apply a given methodology in a consistent manner;

        •   Determine credit ratings by rating committees and not by an individual analyst;




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       •   Avoid issuing any credit ratings that knowingly contained misrepresentations or
           otherwise misrepresented the issuer’s creditworthiness;

       •   Invest resources sufficient to carry out high-quality credit assessments of issuers
           or obligations;

       •   Comply with all applicable laws and regulations governing their activities;

       •   Use care and professional judgment to maintain both the substance and
           appearance of independence and objectivity;

       •   Determine credit ratings only by factors relevant to the credit assessment;

       •   Not let the credit rating assigned to an issuer or obligation be affected by the
           existence of, or potential for, a business relationship between Moody’s and the
           issuer or any other party;

       •   Refrain from determining credit ratings based on the potential effect (economic,
           political, or otherwise) of the rating on Moody’s, an issuer, an investor, or other
           market participant;

       •   Identify and eliminate, manage, or disclose actual or potential conflicts of interest
           that may influence the opinions and analyses Moody’s made;

       •   Make complete, timely, clear, concise, specific, and prominent disclosures of
           known and potential conflicts of interest;

       •   Disclose the general nature of Moody’s compensation agreements with rated
           entities;

       •   Not allow analysts who were directly involved in the rating process to initiate, or
           participate in, discussions regarding fees or payments with any entities they
           rated;

       •   Not evaluate or compensate analysts on the basis of the amount of revenue
           Moody’s generated from issuers that the analyst rated or regularly interacted
           with; and

       •   Publicly disclose any material modifications to the Company’s rating
           methodologies and related significant practices, procedures, and processes.

As detailed in this Complaint, Defendants, in fact, violated every single one of these duties.




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        167.    Moody’s also had a general “Code of Ethics” applicable to every employee, including

Defendants. Among other things, the Code of Ethics laid down duties in the areas of employee

relations, ethical business practices, confidentiality, conflicts of interest, corporate opportunities,

privacy, security, insider trading, fair dealing, and the integrity of business processes.

        168.    Moody’s had a special Code of Ethics for its CEO and senior financial officers. This

Code of Ethics required the officers to “engage in and promote honest and ethical conduct and abide

by the Moody’s Code of Business Conduct and other Company policies and procedures . . . .”

        169.    The senior officers’ Code of Ethics had a section labeled “Conflicts of Interest,”

which provided:

        Your obligation to conduct the Company’s business in an honest and ethical manner
        includes the ethical handling of actual or apparent conflicts of interest between
        personal and professional relationships. No Senior Officer shall make any
        investment, accept any position or benefits, participate in any transaction or business
        arrangement, or otherwise act in a manner that creates or appears to create a conflict
        of interest unless the Senior Officer makes full disclosure of all facts and
        circumstances to the General Counsel and the Chairman of the Audit Committee of
        the Board of Directors . . . , and obtains the prior written approval of the full Board of
        Directors.

        170.    In addition, the charters of the various committees of the Company’s Board imposed

enhanced duties on the Director Defendants sitting on those Committees.

        171.    Pursuant to its Charter, the Audit Committee was responsible for assisting the Board

in at least the following:

        fulfilling its oversight responsibilities relating to: (a) the integrity of the Company’s
        financial statements and the financial information provided to the Company’s
        shareholders and others; (b) the Company’s compliance with legal and regulatory
        requirements; (c) the Company’s internal controls; and (d) the audit process,
        including the qualifications and independence of the Company’s principal external
        auditors . . . and the performance of the Company’s internal audit function and the
        Independent Auditors. The Committee also oversees the preparation of the report




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       required by the Securities and Exchange Commission’s rules to be included in the
       Company’s annual proxy statement

       172.    The Audit Committee had the following specific duties:

       •   Review with independent auditors the adequacy of the Company’s internal and
           external financial reporting processes;

       •   Review the planned scope and results of internal and external audits;

       •   Review significant changes in accounting principles and any significant
           disagreements between management and outside auditors with respect to
           information contained in financial statements;

       •   Receive reports regarding, and review with external auditors, internal auditors
           and management, “the adequacy and effectiveness of: (a) the Company’s
           internal controls, including any significant deficiencies in internal controls and
           significant changes in internal controls reported to the Committee by the
           [external auditors] or management; and (b) the Company's disclosure controls
           and procedures”;

       •   Oversee the Company’s compliance program by reviewing: “(a) legal and
           regulatory compliance matters; and (b) the Company’s policies and procedures
           designed to promote compliance with laws, regulations and internal policies and
           procedures, including the Company’s code of conduct”;

       •   Review the Company’s policies with respect to risk assessment and risk
           management;

       •   Establish and oversee procedures for the receipt, retention and treatment of
           complaints received by the Company “regarding accounting, internal accounting
           controls and auditing matters, including procedures for confidential, anonymous
           submission of concerns by employees regarding accounting and auditing
           matters”; and

       •   Establish and oversee procedures for the receipt, retention and treatment of
           complaints received by the Company.

       173.    Pursuant to its Charter, the Governance and Compensation Committee had the

following duties and responsibilities:

       (a) develop and recommend to the Board a set of corporate governance principles;
       (b) perform a leadership role in shaping the Company’s corporate governance; (c)




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       identify individuals qualified to become Board members, consistent with criteria
       approved by the Board; (d) recommend to the Board director candidates for the
       annual meeting of stockholders; (e) have direct responsibility for overseeing, and
       make recommendations to the Board regarding, compensation of the Company’s
       senior executive officers and directors; and (f) be responsible for overall
       administration of employee benefit plans.

       174.     Finally, Defendants were responsible for maintaining and establishing adequate

internal accounting controls for the Company and to ensure that the Company’s financial statements

were based on accurate financial information. According to Generally Accepted Accounting

Principles (“GAAP”), to accomplish the objectives of accurately recording, processing,

summarizing, and reporting financial data, a corporation must establish an internal accounting

control structure. Among other things, this required Defendants to: (a) make and keep books,

records, and accounts, which, in reasonable detail, accurately and fairly reflect the transactions and

dispositions of the assets of the issuer; and (b) devise and maintain a system of internal accounting

controls sufficient to provide reasonable assurance that: (i) transactions are executed in accordance

with management’s general or specific authorization; and (ii) transactions are recorded as necessary

to permit preparation of financial statements in conformity with GAAP.

                              C.      Defendants’ Breaches of Duties

       175.      The conduct of the Defendants complained of herein involved knowing violations

of, or reckless disregard for, their duties as directors and officers to the Company and its

shareholders.

       176.     Through action or inaction, Defendants breached their legal duties of trust, loyalty,

good faith, candor, oversight, reasonable inquiry, supervision, and due care – as well as their specific

corporate duties – by, among other things:




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        (a)     causing the Company to engage in a “race to the bottom,” i.e., a competition

to deliver the highest possible ratings to the greatest number of issuances of securities

regardless of real creditworthiness and thereby encouraging issuers to “shop” for ratings;

        (b)     causing the Company to use credit evaluation models that were “gamed” to

deliver unrealistically low estimates of expected loss;

        (c)     allowing profitable relationships with large lenders, investment banks, and

other issuer clients to influence the ratings given to those institutions’ securities;

        (d)     causing the Company to award artificially high credit ratings to securities, and

artificially low estimates of expected loss;

        (e)     causing the Company to secretly change models and other analytical tools for

determining credit ratings so as to give less weight to reliable inputs and more weight to

unreliable inputs and extraneous information;

        (f)     allowing the identity, size, and deal volume of particular issuers with

Moody’s to became key components of the ratings assigned to those issuers’ securities;

        (g)     causing the Company itself to participate in the structuring and deal terms of

structured securities while falsely assuring shareholders and the public that it was acting

simply as a neutral and independent rater of creditworthiness;

        (h)     compromising the independence and credibility of ratings by demoting or

transferring analysts from ratings assignments based purely on subjective issuer displeasure

without regard to those analysts’ job performance and integrity;




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       (i)      disregarding obvious signs that senior managers, including McDaniel, were

unwilling or unable to correct the misconduct set forth herein, and failing to remove them

from office or appoint managers who could correct the problems;

       (j)      disregarding warnings from investors, customers, economists, and employees

alike that the Company was proceeding down an unprecedented path of risk to its reputation

and financial prospects through the assigning of fraudulent credit ratings;

       (k)      allowing managers who had direct culpability for the corrupted ratings to

resign or retire from the Company with full benefits;

       (l)      causing the Company to pay dividends on its common stock at times when its

financial prospects were skidding downward and its potential losses and liabilities were

skyrocketing;

       (m)      causing the Company to wrongfully terminate the employment of officers and

managers who criticized the Company’s practices in assigning credit ratings to structured

finance and other securities;

       (n)      when credit ratings of various securities were found to be incorrectly high,

failing to correct those ratings or downgrade the securities promptly, and manually and

retroactively changing the proprietary model by which the ratings were determined so as to

provide an ad hoc justification for the old, incorrect ratings;

       (o)      tolerating a gross lack of documentation of how and why various securities

received various ratings;




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        (p)     knowingly and foreseeably sacrificing the Company’s reputation and

reputational capital for the sake of immediate profits to the Company and the payment of

heightened salaries, bonuses, and other compensation to themselves;

        (q)     falsely representing to shareholders and the public that the Company was an

“independent” and “credible” provider of credit ratings;

        (r)     falsely representing to shareholders and the public that the Company had

adequately disclosed and managed or eliminated the potential conflicts of interest in its

business model;

        (s)     falsely representing to shareholders and the public that the Company did not

participate in the structuring of structured finance securities that it rated;

        (t)     falsely representing to shareholders and the public that the credit ratings given

to structured finance securities were consistent with, and calibrated to correspond to, the

Company’s Global Scale applicable to traditional debt obligations;

        (u)     falsely representing to shareholders and the public that the Company’s credit

ratings were influenced solely by factors relevant to the credit assessment and were not

affected by the existence of, or potential for, a business relationship between the Company

and its issuer clients;

        (v)     falsely representing to shareholders and the public that the Company’s

responses to regulators’ concerns over the Company’s independence were adequate and had

sufficed to allay those concerns;

        (w)     knowingly tolerating inadequate or nonexistent risk management policies and

procedures;




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               (x)     knowingly tolerating inadequate or nonexistent internal controls to prevent

       inaccurate or tainted credit ratings from being assigned;

               (y)     knowingly tolerating inadequate or nonexistent internal controls to prevent

       conflicts of interest from affecting the objectivity of credit ratings assigned; and

               (z)     failing to ensure that the Company’s financial reporting fairly presented, in all

       material respects, the operations and financial condition of the Company.

       177.    Defendants were aware of, or recklessly disregarded, the fact that their breaches of

duties posed a risk of serious injury to the Company. The conduct of the Defendants who were

officers of the Company during the Relevant Period was ratified by the remaining Defendants who

collectively comprised all of Moody’s Board during the Relevant Period.

       178.    Furthermore, the Director Defendants, as members of the respective committees of

the Board, had special duties that included knowing and understanding the material information as

set out in the charters of each of the respective committees, which provides that each committee’s

responsibilities include: (i) overseeing evaluation of the Company’s internal accounting controls; (ii)

reviewing the Company’s financial reports and accounting standards and principles; and (iii)

overseeing internal audits. It was also the duty and responsibility of the Audit Committee to

communicate the results of its exercise of reasonable judgment to the full Board of Directors and for

the full Board to ultimately monitor and oversee the Audit Committee itself.

       179.    The Officer Defendants had ample opportunity to discuss this material information

with their fellow officers at management meetings and via internal corporate documents and reports.

Moreover, the Director Defendants had a duty to discuss this material information with management




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and fellow directors at any of the Board’s meetings or at any of the meeting of the committees of the

Board.

         180.   The Defendants’ conduct as set forth herein constituted conscious misbehavior and

recklessness. Each of the Officer Defendants was charged with overseeing the risk, valuation, and

integrity of the Company’s credit rating process, and each of the Director Defendants was not only

responsible for the Company’s financial well-being as a whole but also sat on one or more

committees of the Board specifically requiring him or her to be actively involved in the oversight of

the officers managing the Company’s credit rating process: (a) Wulff, Anderson, Glauber, Kist,

McGillicuddy, McKinnell, and Newcomb (Audit Committee); and (b) Wulff, Anderson, Glauber,

Kist, McGillicuddy, McKinnell, and Newcomb (Governance and Compensation Committee). Each

of these Committees did, in fact, purport to actively direct and control the Company’s affairs during

the Relevant Period. In 2007, the full Board met six times, the Audit Committee met eight times,

and the Governance and Compensation Committee met six times.

          CONSPIRACY, AIDING AND ABETTING, AND CONCERTED ACTION

         181.   At all relevant times, as a result of their membership in the Board, various

Committees of the Board, and/or senior management of the Company, as well as the powers

available to each of them as a result of these memberships, the Defendants each had access to

internal corporate documents, conversations, and connections with other corporate officers and

employees, attended management and Board meetings, and committees thereof, and was provided

with reports and other information about the Company prior to their public dissemination.

         182.   Accordingly, and because of their positions of trust, loyalty, and fidelity to Moody’s,

Defendants knew or should have known: (a) the adverse, material information about the business of




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Moody’s that they failed to disclose to the investing public, which subjected the Company to

lawsuits by shareholders; (b) the true state of affairs at Moody’s as to which they caused the

Company to affirmatively offer false and misleading guidance to investors (including the

dissemination of false press releases and false filings with the SEC throughout the Relevant Period);

(c) the nature of their fiduciary duties to Moody’s, including the duties that the Company required of

them, and their active breach of those very same duties; (d) the absence of any meaningful internal

controls and procedures that would have prevented Defendants’ destruction of the integrity of the

credit rating process at Moody’s, along with substantially all of its reputational capital; (e) the waste

of Company assets represented by Moody’s decision to pay Defendants lavish salaries, bonuses, and

other compensation even though they had caused great harm to the Company; and (f) the conflicts of

interests among themselves which caused Defendants to act in their own self-interest and contrary to

the interests of Moody’s.

        183.     At all relevant times, the Defendants individually and collectively engaged in a

course of conduct that was consciously designed to and did: (a) enhance the Defendants’ directorial

and managerial positions at Moody’s, as well as the power and prestige accruing to Defendants as a

result of holding those positions, and transfer exorbitant unearned and wasteful sums of money to

themselves; (b) expose Moody’s to a liability for Defendants’ conscious destruction of the integrity

of the credit rating process at Moody’s, along with substantially all of its reputational capital, and

their exposure of the Company to government investigations, lawsuits, and the need to respond

thereto and pay significant legal defenses preparing for and defending against such proceedings; (c)

conceal the fact that the Company was grossly misrepresenting its financial results in order to allow

Defendants to conceal the Company’s liability arising from their destruction of the integrity of the




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credit rating process at Moody’s, along with substantially all of its reputational capital, at least long

enough to allow certain Defendants to pay themselves enormous bonuses for 2007, and all

Defendants’ substantial bonuses and other compensation; and (d) otherwise deceive the investing

public, including Moody’s own shareholders, as to the Defendants’ management of Moody’s

operations, the Company’s financial health, stability, the accuracy and integrity of its credit rating

processes and internal controls, and its business prospects, exposing the Company to massive

damages and incalculable reputational loss among its actual and potential customers and investors.

        184.    In committing the wrongful acts alleged herein, Defendants pursued, or joined in the

pursuit of, a common course of conduct, and have acted in concert with and conspired with one

another in furtherance of their common plan or design. In addition to the wrongful conduct herein

alleged as giving rise to primary liability, Defendants further aided, abetted, and/or assisted one

another in breaching their respective duties.

        185.    At all relevant times, each of the Defendants was the agent of each of the other

Defendants, and was at all times acting within the course and scope of such agency.

        186.    Each of the Defendants aided and abetted and rendered substantial assistance in the

wrongs complained of herein. In taking such actions to substantially assist the commission of the

wrongdoing complained of herein, each Defendant acted with knowledge of the primary

wrongdoing, substantially assisted the accomplishment of the wrongdoing, and was aware of his or

her overall contribution to and furtherance of the wrongdoing.

        187.    Defendants engaged in a conspiracy, common enterprise and/or common course of

conduct commencing on April 1, 2006 and continuing thereafter in connection with their destruction

of the integrity of the credit rating process at Moody’s, along with substantially all of its reputational




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capital, as well as the Company’s financial statements and other statements regarding Moody’s

performance and financial condition. During this time, Defendants caused Moody’s to conceal the

true fact that they had caused the Company to destroy the integrity of the credit rating process at

Moody’s, along with substantially all of its reputational capital. In addition, Defendants also made

specific, improper statements about Moody’s financial performance, and its future business

prospects, throughout the Relevant Period.

       188.    The purpose and effect of Defendants’ conspiracy, common enterprise, and/or

common course of conduct was, among other things, to disguise Defendants’ violations of federal

and state law, breaches of fiduciary duty, abuse of control, gross mismanagement, waste of corporate

assets and unjust enrichment; to conceal adverse information concerning the Company’s operations,

financial condition and future business prospects; and to artificially inflate the price of Moody’s

common stock so they could, among other things: (i) usurp tens of millions of dollars in unearned

bonus, salaries, stock awards, and other emoluments, and (ii) protect and enhance their executive and

directorial positions and the substantial compensation and prestige they obtained as a result thereof.




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                                     CLAIMS FOR RELIEF

                                             COUNT I

                     Against All Defendants for Breach of Fiduciary Duties

       189.     The Retirement System incorporates by reference and realleges each and every

allegation contained above, as though fully set forth herein.

       190.     Defendants owed and owe Moody’s fiduciary duties. By reason of their fiduciary

relationships, the Officer Defendants and the Director Defendants owed and owe Moody’s the

highest obligations of trust, loyalty, good faith, candor, oversight, reasonable inquiry, supervision,

and due care.

       191.     Defendants, and each of them, violated and breached their fiduciary duties of trust,

loyalty, good faith, candor, oversight, reasonable inquiry, supervision, and due care . Each of the

Defendants had actual or constructive knowledge that Defendants had destroyed the integrity of the

credit rating process at Moody’s, along with substantially all of its reputational capital.

       192.     Defendants consciously failed to implement an effective system of internal controls

over its credit rating policies and procedures and/or consciously failed to oversee the operations of

such control systems.

       193.     Defendants knowingly caused or allowed the Company’s financial statements to be

materially misstated due to Defendants’ knowing pretense that its credit rating processes continued

to have integrity.

       194.     Defendants failed in good faith to supervise, and to exert internal controls over, and

consciously disregarded responsibilities involving the Company’s credit rating policies, procedures,

and methodologies.




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        195.   Defendants also knowingly caused Moody’s financial statements during the Relevant

Period to be materially misleading and not prepared in accordance with GAAP principles.

        196.   As a direct and proximate result of Defendants’ failure to perform their fiduciary

obligations, Moody’s has sustained significant damages. As a result of the misconduct alleged

herein, each of the Defendants is liable to the Company.

        197.   The Retirement System on behalf of Moody’s has no adequate remedy at law.

                                             COUNT II

                         Against All Defendants for Abuse of Control

        198.   The Retirement System incorporates by reference and realleges each and every

allegation contained above, as though fully set forth herein.

        199.   Defendants’ misconduct alleged herein constituted an abuse of their responsibility to

control and influence Moody’s, for which they are legally liable. Among these abuses of control

were:

               (i)     Defendants’ failure to in good faith to supervise or exert internal controls

           over, and their conscious disregard of responsibilities involving, the Company’s

           operations with respect to its credit rating policies and procedures, and their knowing

           failure to disclose the true status of the credit rating processes, internal controls,

           accounting, operational and financial condition of the Company;

               (ii)    Defendants’ knowingly causing or allowing Moody’s to prepare and publish

           financial statements that were materially misstated due to Defendants’ concealment of

           their destruction of the integrity of the credit rating process at Moody’s, along with

           substantially all of its reputational capital; and




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               (iii)   Defendants’ knowingly causing, allowing and/or arranging the payment of

           millions of dollars in improper salaries, bonuses, and other compensation – at a time

           when, as a direct and foreseeable consequence of their wrongdoing, the Company was

           exposed to tens of billions of dollars in losses;

       200.    As a direct and proximate result of Defendants’ abuse of control, Moody’s has

sustained significant damages.

       201.    As a result of the misconduct alleged herein, Defendants are liable to the Company.

       202.    The Retirement System on behalf of Moody’s has no adequate remedy at law.

                                            COUNT III

                       Against All Defendants for Gross Mismanagement

       203.    The Retirement System incorporates by reference and realleges each and every

allegation contained above, as though fully set forth herein.

       204.    By their actions alleged herein, Defendants, either directly or through aiding and

abetting, abandoned and abdicated their responsibilities and fiduciary duties with regard to prudently

managing the assets and business of Moody’s in a manner consistent with the operations of a

publicly held corporation.

       205.    Defendants caused or allowed Moody’s to lack requisite internal controls, and as a

result, the Company’s projections and reported results were based upon defective assumptions and/or

manipulated facts.

       206.    Defendants caused or allowed the Company’s financial statements to be materially

misstated due to Defendants’ knowing destruction of the integrity of the credit rating process at

Moody’s, along with substantially all of its reputational capital.




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           207.   Based on the foregoing, Defendants caused or allowed Moody’s financial statements

to be materially misleading and not prepared in accordance with GAAP principles during the

Relevant Period.

           208.   As a direct and proximate result of Defendants’ gross mismanagement and breaches

of fiduciary duty alleged herein, Moody’s has sustained significant damages in the tens of billions of

dollars.

           209.   As a result of the misconduct and breaches of duty alleged herein, Defendants are

liable to the Company.

           210.   The Retirement System on behalf of Moody’s has no adequate remedy at law.

                                             COUNT IV

                      Against All Defendants for Waste of Corporate Assets

           211.   The Retirement System incorporates by reference and realleges each and every

allegation contained above, as though fully set forth herein.

           212.   By failing to properly consider the interests of the Company and its public

shareholders, and by failing to conduct proper supervision, Defendants have caused Moody’s to

waste valuable corporate assets by paying incentive-based bonuses and unearned severance

payments to executives who were terminated in connection with the credit rating debacle, including

defendant Clarkson, who was allowed to resign with full retirement benefits, including early vesting

of his restricted stock, instead of being terminated for cause. In addition to acting recklessly or

negligently and without regard to the financial condition of the Company, Defendants also paid

dividends on the Company’s stock (for example, declaring a dividend of 8 cents per share on April




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24, 2007) at a time when the Company was forecasting drastically lowered revenues for the future

and, in fact, stood to lose tens of billions of dollars in the future.

        213.    Defendants were willing to and did cause Moody’s to engage in this massive waste of

corporate assets and pay retirement and dividends at a time when the Company could clearly not

afford to pay either.

        214.    As a result of the waste of corporate assets, Defendants are liable to the Company.

        215.    The Retirement System on behalf of Moody’s has no adequate remedy at law.

                                              COUNT V

               Against All Defendants for Unjust Enrichment and Insider Selling

        216.    The Retirement System incorporates by reference and realleges each and every

allegation contained above, as though fully set forth herein.

        217.    By their wrongful acts and omissions, Defendants were unjustly enriched at the

expense of and to the detriment of Moody’s.

        218.    The Retirement System, as a shareholder and representative of Moody’s, seeks

restitution from Defendants, and each of them, and seek an order of this Court disgorging all profits,

benefits, and other compensation obtained by Defendants and each of them from their wrongful

conduct and fiduciary breaches.

        219.    In addition, at the time of each of the stock sales set forth herein, each of the Insider

Selling Defendants knew, but did not disclose publicly, the material information described herein.

Each of the Insider Selling Defendants made each of his or her sales of stock between April 1, 2006

and the present on the basis of and because of his or her knowledge of this material, non-public

information.




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       220.    At the time of their stock sales, each of the Insider Selling Defendants knew that

when the material information described herein was publicly disclosed, the price of the Company’s

stock would dramatically decrease. These defendants’ sales of Moody’s common stock based on

their knowledge of the material, non-public information was a breach of their fiduciary duties of

loyalty and good faith.

       221.    As a result of this misconduct, the Insider Selling Defendants are liable to the

Company. The Company is entitled to have a constructive trust imposed on any proceeds obtained

by these defendants obtained thereby.

       222.    The Retirement System on behalf of Moody’s has no adequate remedy at law.

                                            COUNT VI

                 Derivatively Against All Defendants for Violation of § 10(b)
                of the Exchange Act and Rule 10b-5 Promulgated Thereunder

       223.    The Retirement System incorporates by reference and realleges each and every

allegation contained above, as though fully set forth herein.

       224.    Throughout the Relevant Period, Defendants, by the use of means or instrumentalities

of interstate commerce, the United States mails, interstate telephone communications, and a national

securities exchange, employed a device, scheme, or artifice to defraud, made untrue statements of

material facts and omitted to state material facts necessary in order to make the statements made, in

light of the circumstances in which they were made, not misleading, and engaged in acts, practices,

and a course of business which operated as a fraud and deceit upon the Company and shareholders in

connection with their purchases of Moody’s during the Relevant Period, all in violation of Section

10(b) of the Exchange Act, 15 U.S.C. § 78j(b), and SEC Rule 10b-5 promulgated thereunder, 17

C.F.R. § 240.10b-5.



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        225.    Defendants, as the most senior officers and/or members of the Board of Directors of

Moody’s and various Committees of the Board during the Relevant Period, are liable as direct

participants in all of the wrongs complained of herein. Through their positions of control and

authority, Defendants were in a position to and did control all of the false and misleading statements

and omissions made on behalf of the Company, including the contents of all its public filings and

reports and press releases, as more particularly set forth above. In addition, certain of these false and

misleading statements constitute “group published information,” which Defendants were responsible

for creating.

        226.    Defendants had actual knowledge of the misrepresentations and omissions of material

facts set forth herein, or acted with reckless disregard for the truth in that they failed to ascertain and

to disclose such facts, even though such facts were available to them and they had express

responsibility for knowing such facts. Such material misrepresentations and omissions were made

knowingly or recklessly and for the purpose and effect of concealing the Company’s true financial

and operating condition from shareholders and supporting an artificially inflated price of the

Company’s common stock.

        227.    Defendants had the motive and opportunity to commit fraud. By virtue of their

positions of control over the entire management of the Company, the Director Defendants had

unquestioned opportunity to issue statements that they knew were false and misleading. Each of the

Officer Defendants had direct operative control over the Company’s practices in the credit rating

process. Each of the Defendants had the motive to mislead investors as to the Company’s true

exposure to these instruments, because, among other things:




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       (a)     During the Relevant Period, each of the Officer Defendants wanted to paint a

picture of Moody’s as being as profitable as possible so as to ensure the maximum possible

bonus and other performance-based compensation for the fiscal year; accordingly, each of

these Defendants was motivated to conceal the Company’s true exposure to harm from their

destruction of the integrity of the credit rating process at the Company;

        (b)    In particular, each of the Officer Defendants received significant

compensation including a program of bonuses when Moody’s reached certain financial and

earnings targets. The target bonuses rewarded executives on a variety of factors, including

the size of the Company’s revenues from credit ratings given to structured finance securities.

The Officer Defendants, therefore, understood that announcing that Moody’s stood to lose

billions of dollars from revelation that the credit rating process at Moody’s had been

destroyed at their hands, and that the Company had manipulated the market to deceive its

own customers on that topic, would directly and negatively impact their bonuses;

       (c)     Defendants further benefited from high stock prices for Moody’s when they

sold the stock they received through stock, option, and other awards. As set forth supra,

since April 1, 2006, Defendants sold millions of dollars worth of Company stock. If

Defendants had caused the Company to report losses in a timely manner, the stock price

would have fallen and the amount of money Defendants received from their stock price

correspondingly would have decreased by 65 percent or more;

       (d)     In addition, each of the Defendants, by virtue of being a shareholder of

Moody’s, was motivated to conceal the Company’s exposure to losses and other liabilities in




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       connection with their destruction of the credit rating process so as to maintain an artificially

       high price for the Company’s stock;

               (e)     Defendants were motivated to overstate Moody’s financial results, and keep

       its stock price high, so as to protect their positions of power, authority, prestige, and personal

       remuneration at the Company, including out-sized salaries, directors’ fees, stock awards, and

       other emoluments worth multiple millions of dollars; and

               (f)     Defendants, as a result of repeated warnings from within and without the

       Company, were on notice no later than July 2007 that their practices in managing the credit

       rating process at Moody’s were fraudulent and manipulative, yet did not take steps to change

       them, preferring instead to retain the profits from such illegal market manipulation.

       228.    Defendants McDaniel, Huber, Wulff, Anderson, Glauber, Kist, McGillicuddy,

McKinnell, and Newcomb signed certifications to various Forms 10-Q and 10-K filed publicly with

the SEC during the Relevant Period, attesting that they had reviewed the reports and based on their

knowledge, there were no untrue statements of material fact or omissions of material fact necessary

to make the statement made, in light of the circumstances under which the statements were made,

not misleading.

       229.    The Company repurchased shares of its common stock during the Relevant Period,

pursuant to a share repurchase program in the amount of $2 billion announced on August 1, 2007. In

purchasing its stock, the Company or its shareholders relied upon the Defendants’ statements and/or

the integrity of the market in making their purchases.

       230.    Accordingly, Defendants violated § 10(b) of the Exchange Act and Rule 10b-5

thereunder in that they:




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               (a)    employed devices, schemes and artifices to defraud;

               (b)    made untrue statements of material facts or omitted to state material facts

       necessary in order to make the statements made, in light of the circumstances under which

       they were made, not misleading; and/or

               (c)    engaged in acts, practices and a course of business that operated as a fraud or

       deceit upon Moody’s and others in connection with their purchases of Moody’s common

       stock during the Relevant Period.

       231.    As a result of Defendants’ misconduct, Moody’s has suffered and will suffer damages

in that it paid artificially inflated prices for Moody’s common stock purchased on the open market.

Moody’s would not have purchased Moody’s common stock at the prices it paid had the market been

aware that the market price of Moody’s stock was artificially and falsely inflated by Defendants'

misleading statements. As a direct and proximate result of Defendants’ wrongful conduct, Moody’s

suffered damages in connection with its purchases of Moody’s common stock during the relevant

period. By reason of such conduct, Defendants are liable to the Company.

       232.    The Retirement System on behalf of Moody’s has no adequate remedy at law.

                                    PRAYER FOR RELIEF

       WHEREFORE, the Retirement System demands judgment as follows:

               A.     Against all Defendants and in favor of the Company for the amount of

damages sustained by the Company as a result of Defendants’ breaches of fiduciary duties, abuse of

control, gross mismanagement, waste of corporate assets, unjust enrichment, and violations of

federal law;




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               B.      Extraordinary equitable and/or injunctive relief as permitted by law, equity

and state statutory provisions sued hereunder, including attaching, impounding, imposing a

constructive trust on or otherwise restricting Defendants’ assets until the Company can recoup all of

the monies improperly transferred to Defendants, and the proceeds to the Insider Selling Defendants

from their sales of Company common stock based on material, non-public information, so as to

assure that the Retirement System on behalf of Moody’s has an effective remedy;

               C.      Declaring that the Defendants are liable under of § 10(b) of the Exchange Act

and Rule 10b-5 promulgated thereunder and awarding Moody’s damages;

               D.      Declaring that Defendants’ improper payments to themselves through the

Company’s coffers of unearned bonuses, compensation, stock awards, fees, and other illicit transfers

– as well as any assets or property acquired with such payments – be held in constructive trust for the

Company’s benefit;

               E.      Awarding to Moody’s restitution from Defendants, and each of them, and

ordering disgorgement of all profits, benefits and other monies obtained by Defendants;

               F.      Directing Moody’s to take all necessary actions to reform and improve their

corporate governance and internal procedures to comply with applicable laws and to protect

Moody’s and its shareholders from a repeat of the damaging events described herein, including, but

not limited to, putting forward for shareholder vote resolutions for amendments to the Company’s

By-Laws or Articles of Incorporation and taking such other action as may be necessary to place

before shareholders for a vote the following Corporate Governance Policies:

                (i)    implementing procedures whereby the publication of any credit rating by the

       Company is accompanied by a prominent disclosure statement indicating how the Company




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was compensated for the rating, including whether or not the Company received any

compensation from an issuer, broker, dealer, or other party who received proceeds of the

security being rated;

        (ii)   implementing a long-term business plan in which the Company’s revenues

from “investor paid” engagements is increased from its current de minimis amount to 50

percent of the Company’s revenues within ten (10) years, and guaranteeing that “investor

paid” revenue always constitutes the majority of the Company’s revenues;

       (iii)   expanding the Board to thirteen (13) members and filling the five (5)

additional seats with nominees proposed by shareholders and chosen in a special election;

       (iv)    replacing completely the current memberships of the Audit Committee and

the Governance and Compensation Committee;

       (v)     establishing enhanced minimum qualifications for members of the Audit

Committee and the Governance and Compensation Committee;

       (vi)    establishing a Board-level committee to analyze, monitor, and eliminate

conflicts of interest that impair the accuracy and integrity of credit ratings awarded by the

Company;

       (vii)   terminating the employment of defendant McDaniel for cause; and

       (viii) establishing a special committee of the Board to conduct an investigation into

the identity of key employees responsible for the Company’s issuance of compromised credit

ratings in each investment category and empowering the special committee to make

recommendations for the termination or other discipline of the employees so identified.




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